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               EXHIBIT 1
             FILED UNDER SEAL
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               EXHIBIT 2
             Case 4:19-cv-07123-PJH         Document 401-2        Filed 09/27/24   Page 3 of 112
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3385
     JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · ·OAKLAND DIVISION

·4
· · ·WHATSAPP INC., a Delaware· · )
·5· ·corporation, and FACEBOOK,· ·)
· · ·INC., a Delaware corporation,)
·6· · · · · · · · · · · · · · · · )
· · · · · · · ·Plaintiffs,· · · · )
·7· · · · · · · · · · · · · · · · )
· · · · · vs.· · · · · · · · · · ·)· Case No.
·8· · · · · · · · · · · · · · · · )· 4:19-cv-07123-PJH
· · ·NSO GROUP TECHNOLOGIES· · · ·)
·9· ·LIMITED and Q CYBER· · · · · )
· · ·TECHNOLOGIES LIMITED,· · · · )
10· · · · · · · · · · · · · · · · )
· · · · · · · ·Defendants.· · · · )
11· ·__________________________· ·)

12

13

14

15· · · · ·HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY

16· · · VIDEOTAPED 30(B)(6) DEPOSITION OF JONATHAN LEE

17· · · · · · · · ·LOS ANGELES, CALIFORNIA

18· · · · · · · WEDNESDAY, SEPTEMBER 25, 2024

19

20

21

22

23

24· ·SWIVEL LEGAL SOLUTIONS
· · ·JOB NO.: 3385
25· ·DORIEN SAITO, CSR 12568, CLR
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WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                      Job 3385
JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 174..177
                                                  Page 174                                                     Page 175
·1· ·how did decompiler work, so I also don't know how it    ·1· · · ·Q.· ·Right.
·2· ·would work prior to registration.                       ·2· · · · · · But you're not testifying from your memory
·3· ·BY MR. AKROTIRIANAKIS:                                  ·3· ·from the time when you registered a WhatsApp
·4· · · ·Q.· ·Okay.· So you download the app.· Then          ·4· ·account; am I; right?
·5· ·what's the next step if you wanted to register for      ·5· · · ·A.· ·Correct.· As we discussed earlier, I spoke
·6· ·an WhatsApp account?                                    ·6· ·with two internal experts about the process to do
·7· · · · · · MR. BLOCK:· Objection to scope.                ·7· ·this.
·8· · · · · · THE WITNESS:· You would download the app.      ·8· · · ·Q.· ·And those are the steps that they explained
·9· ·You would open the app, and you'd be shown a welcome    ·9· ·to you?
10· ·screen.· The welcome screen includes links to the       10· · · ·A.· ·They are.
11· ·term of service and the privacy policy.· The user is    11· · · ·Q.· ·Okay.· So at what point do you -- after
12· ·then given the opportunity to agree to the terms of     12· ·downloading the app and before or during the process
13· ·services and continue with the registration flow.       13· ·that you have now described would you, for example,
14· · · · · · If the user chooses to agree to the terms      14· ·select a language?
15· ·of service and continue, they're given the              15· · · · · · MR. BLOCK:· Objection to form and scope.
16· ·opportunity to enter their phone number that they'll    16· · · · · · THE WITNESS:· I don't know specifically
17· ·be associating with the WhatsApp account.· There's a    17· ·when that happens.· My recollection from the
18· ·verification process for that phone number, most        18· ·conversations that I had yesterday were that the app
19· ·commonly done by an SMS message sent to that phone      19· ·looks to the language settings of the phone in order
20· ·number, after which the account is created, if the      20· ·to surface the -- the language -- the relevant
21· ·verification is successful.                             21· ·language.
22· ·BY MR. AKROTIRIANAKIS:                                  22· ·BY MR. AKROTIRIANAKIS:
23· · · ·Q.· ·Have you done this yourself?                   23· · · ·Q.· ·So is your testimony on behalf of WhatsApp
24· · · ·A.· ·I use WhatsApp, and in order to use            24· ·and Facebook that you don't have to select a
25· ·WhatsApp, I had to register my account.                 25· ·language?· It selects it for you?
                                                  Page 176                                                     Page 177
·1· · · · · · MR. BLOCK:· Objection to form.· And this is    ·1· ·testify?
·2· ·outside the scope of the topic.                         ·2· · · ·A.· ·In my preparations for this, on this issue,
·3· · · · · · But you can answer in personal capacity.       ·3· ·these were described to me verbally.
·4· · · · · · Hang on one second.                            ·4· · · ·Q.· ·Okay.· So some person just told you, and
·5· · · · · · Sorry for the -- I think I objected on form    ·5· ·now you're doing your best to parrot what you were
·6· ·and scope.                                              ·6· ·told yesterday?
·7· · · · · · And if you have knowledge in your personal     ·7· · · · · · MR. BLOCK:· Objection to form.
·8· ·capacity, you can answer.                               ·8· · · · · · THE WITNESS:· As part of the preparations I
·9· · · · · · THE WITNESS:· I don't know whether or not a    ·9· ·spoke with two people, one of whom is the product
10· ·user has the opportunity to select their language in    10· ·manager who leads this particular set of product
11· ·WhatsApp is part of their registration flow.            11· ·experiences for WhatsApp.· He described them to me,
12· ·BY MR. AKROTIRIANAKIS:                                  12· ·and I am describing them to the best of my
13· · · ·Q.· ·Now earlier, when you testified about the      13· ·recollection based on my preparation.
14· ·explanations you were given yesterday -- well, let      14· ·BY MR. AKROTIRIANAKIS:
15· ·me back up.                                             15· · · ·Q.· ·All right.· Is there any, like, depiction
16· · · · · · The explanations that you were given           16· ·of the terms and service in any of the screens that
17· ·yesterday, is that the sole basis for your -- your      17· ·you have to go through in order to register a
18· ·ability to testify today as to the process by which     18· ·WhatsApp account?
19· ·users in Israel could accept terms of service in        19· · · · · · MR. BLOCK:· Foundation.· Scope.
20· ·2018, 2019, 2020?                                       20· · · · · · You can answer, if you know.
21· · · ·A.· ·In my capacity answering these questions,      21· · · · · · THE WITNESS:· The terms of service are
22· ·yes.                                                    22· ·presented -- are presented by a link -- a hyperlink
23· · · ·Q.· ·Okay.· And do you recall, you know, did you    23· ·which a user could choose to click through in order
24· ·review any, like, progression of screens or anything    24· ·to read the terms of service.
25· ·like that during your -- during your preparation to     25· ·///



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JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 178..181
                                                  Page 178                                                     Page 179
·1· ·BY MR. AKROTIRIANAKIS:                                  ·1· ·WhatsApp.
·2· · · ·Q.· ·And not to click through.                      ·2· ·BY MR. AKROTIRIANAKIS:
·3· · · · · · MR. BLOCK:· And sorry.· I had misunderstand    ·3· · · ·Q.· ·Yeah.· Hundreds, probably.· At least
·4· ·the previous question.· I think it was fairly in        ·4· ·dozens?
·5· ·scope.                                                  ·5· · · ·A.· ·I have used a number of apps that are not
·6· · · · · · THE WITNESS:· It's not a requirement that a    ·6· ·WhatsApp.
·7· ·user click through the terms of service in order to     ·7· · · ·Q.· ·And you know that in some cases, the
·8· ·decide whether or not to accept and continue.           ·8· ·click -- the clickwrap accepting of terms of service
·9· ·BY MR. AKROTIRIANAKIS:                                  ·9· ·requires you to scroll through the terms of service,
10· · · ·Q.· ·And there's no separate box to check "I        10· ·and at least pretend you're reading it; right?
11· ·accept terms of service."                               11· · · · · · MR. BLOCK:· Foundation.· Scope.· Calls for
12· · · · · · Correct?                                       12· ·a legal conclusion.
13· · · · · · MR. BLOCK:· Objection to form.                 13· · · · · · THE WITNESS:· In my experience using other
14· · · · · · THE WITNESS:· I believe the box is             14· ·apps, I have experienced apps or other online
15· ·accept --                                               15· ·services where I have, as part of the registration
16· · · · · · MR. CRAIG:· (Sneezing.)                        16· ·flow or the flow to access the app, been required to
17· ·BY MR. AKROTIRIANAKIS:                                  17· ·scroll through a document before it enabled me to
18· · · ·Q.· ·But you think there's a box?                   18· ·click "accept."
19· · · ·A.· ·That is what I recall from my preparation.     19· ·BY MR. AKROTIRIANAKIS:
20· · · ·Q.· ·Have you used other apps in your lifetime      20· · · ·Q.· ·Okay.· And there's nothing like that with
21· ·other than WhatsApp?                                    21· ·WhatsApp; right?
22· · · · · · MR. BLOCK:· This is outside the scope.         22· · · · · · MR. BLOCK:· Object to form.
23· · · · · · But you can answer in your personal            23· ·Mischaracterizes.
24· ·capacity.                                               24· · · · · · THE WITNESS:· As I say earlier, the
25· · · · · · THE WITNESS:· I have used apps other than      25· ·WhatsApp registration flow does not require the user
                                                  Page 180                                                     Page 181
·1· ·to click through the terms of service, or to scroll     ·1· ·demonstrate acceptance of the terms in order to
·2· ·through a document after clicking through it.           ·2· ·continue the registration flow.
·3· ·BY MR. AKROTIRIANAKIS:                                  ·3· ·BY MR. AKROTIRIANAKIS:
·4· · · ·Q.· ·But you think that in 2018, 2019, and 2020,    ·4· · · ·Q.· ·So for all you know, it could say, "Click
·5· ·it did require clicking a box?                          ·5· ·here," and "here" is underscored, and it's a link to
·6· · · ·A.· ·My understanding based on the preparation      ·6· ·accept the terms of service?
·7· ·is that in order to proceed with the registration       ·7· · · · · · MR. BLOCK:· Objection to form.
·8· ·flow, you have to click a button of some sort --        ·8· · · · · · THE WITNESS:· Link wouldn't be the -- the
·9· ·whether that's a box or a button, I don't know the      ·9· ·term that we would use in that context.· If you are
10· ·specific shape -- but in order to demonstrate           10· ·clicking something to proceed in a flow, for
11· ·agreement of the terms of service, and to continue      11· ·instance, we would generally call that a "button."
12· ·with the registration process.                          12· ·BY MR. AKROTIRIANAKIS:
13· · · ·Q.· ·Could it just be clicking on a link?           13· · · ·Q.· ·Okay.· The entirety of your knowledge of
14· · · · · · MR. BLOCK:· Objection to form.                 14· ·what you're testifying to is -- is based 100 percent
15· · · · · · THE WITNESS:· Could you clarify what you       15· ·on these conversations you had with other WhatsApp
16· ·mean by "link" there?                                   16· ·employees yesterday, September 24, 2024; correct?
17· ·BY MR. AKROTIRIANAKIS:                                  17· · · · · · MR. BLOCK:· Objection to form.
18· · · ·Q.· ·Well, like, a box would be a little square,    18· · · · · · THE WITNESS:· As I mentioned, I personally
19· ·maybe, that you have to put a checkmark in or click     19· ·use WhatsApp, although it's been quite some time
20· ·your pointer in that box; right?                        20· ·since I registered for the service.· So I'm basing
21· · · · · · MR. BLOCK:· Objection to form.                 21· ·this testimony almost entirely on the preparation
22· · · · · · THE WITNESS:· Yeah.· Again, as I said, I       22· ·that I conducted yesterday.
23· ·don't know the shape of the particular box or button    23· ·BY MR. AKROTIRIANAKIS:
24· ·that a user had to -- would have to click in order      24· · · ·Q.· ·Well, you never registered for WhatsApp in
25· ·to proceed, but the user would have to click to         25· ·Israel, I take it; right?


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JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                     Pages· 182..185
                                                  Page 182                                                     Page 183
·1· · · ·A.· ·That's true.· So in that respect, I agree      ·1· ·the company, but from what I have been told and what
·2· ·it would be more accurate to say that I am basing it    ·2· ·I understand is that users who are registering --
·3· ·off of the conversations that I had yesterday.          ·3· ·excuse me -- users who had already been on the
·4· · · ·Q.· ·Okay.· Which is --                             ·4· ·service prior to 2016 were given the opportunity to
·5· · · ·A.· ·However, I don't -- the experience in          ·5· ·opt out of certain provisions of the updated terms
·6· ·Israel is -- is consistent with many other              ·6· ·of service for a limited period of time.
·7· ·jurisdictions.                                          ·7· ·BY MR. AKROTIRIANAKIS:
·8· · · ·Q.· ·Has the process changed over time, the         ·8· · · ·Q.· ·But that didn't have to do with the
·9· ·process for registering for a WhatsApp account?         ·9· ·registration of a WhatsApp account?
10· · · · · · MR. BLOCK:· Objection to scope to the          10· · · ·A.· ·My -- from what I understand, in that time
11· ·extent it seeks testimony outside the timeframe of      11· ·period, that was the users who were registering
12· ·the designation.                                        12· ·subsequent to the issuance of the 2016 terms of
13· · · · · · THE WITNESS:· I'm not aware of ways in         13· ·service did not have the opportunity to opt out.
14· ·which it has changed.· I am aware, as -- excuse         14· · · · · · It -- I don't know the specifics.· It may
15· ·me -- that in some jurisdictions, we are -- WhatsApp    15· ·have been that there was a brief period of time
16· ·is starting to require a user to enter age              16· ·where users who were registering on the order of
17· ·information as part of the registration flow.           17· ·30 days would have had that opt out option, but that
18· ·BY MR. AKROTIRIANAKIS:                                  18· ·would have been for a limited amount of time.
19· · · ·Q.· ·Didn't you earlier testify that there were     19· ·BY MR. AKROTIRIANAKIS:
20· ·changes to opt in to at least parts of the terms of     20· · · ·Q.· ·When did you register your WhatsApp
21· ·service?                                                21· ·account?
22· · · · · · MR. BLOCK:· Objection to form.                 22· · · · · · MR. BLOCK:· Objection to scope.
23· · · · · · THE WITNESS:· What I described earlier was     23· · · · · · THE WITNESS:· I use --
24· ·in relation to the 2016 terms of service.· And as       24· · · · · · MR. AKROTIRIANAKIS:· Well, hold on.
25· ·mentioned, this was implemented prior to my joining     25· · · · · · That is not a fair objection.· He testified
                                                  Page 184                                                     Page 185
·1· ·that he was drawing on the experience of setting up     ·1· · · · · · THE WITNESS:· Thank you.
·2· ·his own WhatsApp account, and not 100 percent           ·2· ·BY MR. AKROTIRIANAKIS:
·3· ·relying on these two people he spoke to yesterday.      ·3· · · ·Q.· ·When did you sign up your own personal
·4· · · · · · If you want to stipulate that what he is       ·4· ·WhatsApp account?
·5· ·100 percent relying on what he was told yesterday,      ·5· · · · · · MR. BLOCK:· Same objections.
·6· ·then we can move on.· But if he's going to -- if        ·6· · · · · · THE WITNESS:· I don't remember specifically
·7· ·he's going to purport to draw on his own -- his own     ·7· ·when I signed up for WhatsApp, but I believe it was
·8· ·experience as part of his preparation to testify,       ·8· ·at least -- what year is it now -- maybe we will
·9· ·then I think that's a totally fair question and         ·9· ·over ten years ago.
10· ·within the scope.                                       10· ·BY MR. AKROTIRIANAKIS:
11· ·BY MR. AKROTIRIANAKIS:                                  11· · · ·Q.· ·Okay.· So even before Facebook owned
12· · · ·Q.· ·So which is it, Mr. Lee?                       12· ·WhatsApp, then?
13· · · · · · MR. BLOCK:· I object to the form of that       13· · · ·A.· ·I believe it was prior to 2014.
14· ·question.                                               14· · · ·Q.· ·So it sounds like you are entirely relying
15· · · · · · THE WITNESS:· Could you --                     15· ·on your two conversations that you had yesterday in
16· ·BY MR. AKROTIRIANAKIS:                                  16· ·order to testify on behalf of the company today.
17· · · ·Q.· ·When did you -- when did you sign up your      17· · · · · · MR. BLOCK:· Objection to the form.
18· ·own personal WhatsApp account?                          18· · · · · · THE WITNESS:· I -- that would be fair -- a
19· · · ·A.· ·Is there --                                    19· ·fair thing to say.
20· · · · · · MR. BLOCK:· Same objections.                   20· ·BY MR. AKROTIRIANAKIS:
21· · · · · · (Simultaneous speakers.)                       21· · · ·Q.· ·Okay.· Thank you.
22· · · · · · THE WITNESS:· -- a prior question that you     22· · · · · · In Exhibit 1412, could you turn, please, to
23· ·wanted me to answer?                                    23· ·the page that has the document control number ending
24· · · · · · MR. BLOCK:· Just answered the question he      24· ·in -94?· This is in the middle of a Q and A section
25· ·asks when he asks it.                                   25· ·of the document.· Do you see that?



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JONATHAN LEE on 09-25-2024                {{Attorneys Eyes Only}}                                         Pages· 318..319
                                                  Page 318                                                           Page 319
·1· ·PAGE· · LINE· · CHANGE/ADD/DELETE                       ·1· · · · · · · · ·CERTIFICATE OF REPORTER

·2· ·____· · ____ _______________________________________    ·2· · · · · ·I, DORIEN SAITO, CSR 12568, CLR, a certified
                                                             ·3· ·Shorthand reporter in and for the State of
·3· ·____· · ____ _______________________________________
                                                             ·4· ·California, County of Los Angeles, do hereby
·4· ·____· · ____ _______________________________________
                                                             ·5· ·certify;
·5· ·____· · ____ _______________________________________
                                                             ·6· · · · · ·That JONATHAN LEE, the witness named in the
·6· ·____· · ____ _______________________________________
                                                             ·7· ·foregoing deposition, was, before the commencement
·7· ·____· · ____ _______________________________________
                                                             ·8· ·of the deposition, duly administered an oath in
·8· ·____· · ____ _______________________________________    ·9· ·accordance with CCP 2094;
·9· ·____· · ____ _______________________________________    10· · · · · ·That said deposition was taken down in
10· ·____· · ____ _______________________________________    11· ·stenograph writing by me and thereafter transcribed
11· ·____· · ____ _______________________________________    12· ·into typewriting under my direction.
12· ·____· · ____ _______________________________________    13· · · · · ·That before completion of the deposition,
13· ·____· · ____ _______________________________________    14· ·review of the transcript [ ] was [x ] was not
14· ·____· · ____ _______________________________________    15· ·requested.· If requested any changes made by the

15· ·____· · ____ _______________________________________    16· ·deponent (and provided to the reporter) during the
                                                             17· ·period allowed are appended hereto.
16· ·____· · ____ _______________________________________
                                                             18· · · · · ·I further certify that I am neither counsel
17· ·____· · ____ _______________________________________
                                                             19· ·for nor related to any party to said action, nor in
18· ·____· · ____ _______________________________________
                                                             20· ·any way interested in the outcome thereof.
19· ·____· · ____ _______________________________________
                                                             21· · · · · ·Dated this 26th day of September, 2024.
20· ·____· · ____ _______________________________________    22
21· ·____· · ____ _______________________________________    23· · · · · · · · ·_________________________________
22· ·____· · ____ _______________________________________    · · · · · · · · · · · CERTIFIED SHORTHAND REPORTER
23· ·____· · ____ _______________________________________    24· · · · · · · · · · · IN AND FOR THE COUNTY OF
24· ·____· · ____ _______________________________________    · · · · · · · · · · ·LOS ANGELES, STATE OF CALIFORNIA
25· ·Deponent's Signature ___________________ Date           25




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                EXHIBIT 3
REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED
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     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3226
     CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                    ·

1                          UNITED STATES DISTRICT COURT

2                        NORTHERN DISTRICT OF CALIFORNIA

3                                     OAKLAND DIVISION

4     __________________________________

5     WHATSAPP INC., a Delaware          )
      corporation, and FACEBOOK, INC.,   )
6     a Delaware corporation,            )
      a Delaware corporation,            )
7                                        )
                  Plaintiffs,            )
8         v.                             ) Case No.
                                         ) 4:19-cv-07123-PJH
9     NSO GROUP TECHNOLOGIES LIMITED     )
      and Q CYBER TECHNOLOGIES LIMITED, )
10                                       )
                                         )
11                Defendants.            )
      ___________________________________)
12

13               HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14                  VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15                                     DEPOSITION OF

16           WHATSAPP INC., by and through its Designated

17                                     Representative,

18                                           CARL WOOG

19                           Palo Alto, California 94304

20                           Wednesday, August 14, 2024

21

22

23    Reported Stenographically by:
      MARY J. GOFF
24    CSR No. 13427
      WA CSR No. 21030779
25    Job No. 3226
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1 working with great intensity to identify what was       1 and they were working to put to stop.
2 going on.                                               2    Q And do you know what that was based on,
3     Q So you have never spoken to                       3 that attribution to NSO?
4        , as far as you know?                            4    A Sir, based on their technical expertise.
5     A Sorry. I don't believe so, but I don't            5    Q So you don't know?
6 recall if I have.                                       6    A I'm not a technical expert, no, sir.
7     Q Do you know at all what his                       7    Q Okay. So you don't know?
8 responsibilities with respect to either WhatsApp or     8    A No, sir.
9 Facebook were?                                          9        ATTORNEY ANDRES: Objection, asked and
10     A Not that I recall.                              10 answered.
11     Q Do you know whether Mr. Robinson was            11     Q (BY ATTORNEY AKROTIRIANAKIS) Are all
12 attributing the exploitation of this vulnerability    12 WhatsApp chats end-to-end encrypted?
13 to NSO as of May 5, 2019?                             13     A Sir, we have a distinction between what we
14     A Sir I do not know what Mr. Robinson             14 refer to as "personal WhatsApp chats" and chats that
15 determined at that -- at that point in time.          15 are with businesses that use a technology service
16     Q Do you know if WhatsApp more generally was      16 called an "API."We have a White Paper that explains
17 attributing anything to NSO as of May 5, 2019?        17 this. Generally.
18     A I believe that was our -- our -- our            18         I think the way we think of WhatsApp is
19 strongest hypothesis that the team was working to     19 kind of how people like you and me would chat with
20 validate and confirm.                                 20 one another, but we also have these business
21     Q And do you know what that was based on?         21 services.
22     A Sir, I -- my recollection, I recall             22         Those business services using the API, we
23 security engineers telling me that they believed      23 do not designate those at end-to-end encrypted. But
24 that NSO was attacking our users.                     24 what people are thinking of when they are using
25        And this was an attack that was underway,      25 their WhatsApp in their handset on their -- on their
                                              Page 176                                                   Page 177
 1 phones app to app, those are indeed end-to-end         1    Q How much does it cost for a user to
 2 encrypted. We usually refer to those as personal       2 establish a WhatsApp account?
 3 images.                                                3    A Sir --
 4    Q All right. So all WhatsApp personal               4        ATTORNEY ANDRES: Objection, relevance.
 5 messages are end-to-end encrypted?                     5    A -- sir, accounts are free to establish.
 6    A Yes, sir.                                         6 There's no cost.
 7    Q And all WhatsApp calls are end-to-end             7    Q (BY ATTORNEY AKROTIRIANAKIS) So what --
 8 encrypted?                                             8 what does a person need in order to set up a
 9    A Yes, sir.                                         9 WhatsApp account?
10     Q Is that true both with respect to voice         10     A Sir, you need a mobile phone, and you need
11 calls and video calls?                                11 the ability to download the app from either the
12     A Yes, voice and video calls are both             12 Apple App Store or the Google Play Store.
13 protected by end-to-end encryption on an              13        Or you can also download the app directly
14 application-to-application basis.                     14 from our website, if you're having trouble accessing
15     Q Does a WhatsApp user have to pay extra for      15 those stores. And then you download that
16 the end-to-end encryption or is that a standard       16 application onto your phone.
17 feature?                                              17        And then from there you open the app.
18     A That's a standard feature, sir, and it          18 There'll be some information there about our Terms
19 cannot be turned off.                                 19 of Service that you would need to agree to prior to
20     Q So it's impossible to have a WhatsApp           20 using our service.
21 account -- a personal WhatsApp account without        21        And then there's just some initial setup
22 end-to-end encryption, correct?                       22 questions that -- that we have. And then from there
23     A That is how our service works, sir.             23 you're pretty much off and running.
24     Q So yes?                                         24     Q Well, what are the initial setup
25     A Yes.                                            25 questions?
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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                  Pages· 178..181
                                                Page 178                                                   Page 179
 1    A Well --                                            1     A I believe so.
 2        ATTORNEY ANDRES: Objection, relevance.           2     Q It could be symbols? It doesn't even have
 3    A -- well -- so you have to enter your phone         3 to be letters?
4 number in order to effectively activate your             4     A I don't know if you can use symbols.
5 account.                                                 5 That -- sometimes apps have trouble with symbols.
6         So you enter your phone number, and that         6         But perhaps. I don't know for sure. You
7 will send an SMS message to you, which you -- you        7 have to put in something, I believe, in that field.
8 type in a code for that, and then that allows you to     8     Q But it doesn't have to be your name?
 9 start your account.                                     9     A It does not have to be your name, sir.
10        I think we also ask for a name, which is         10     Q Other than what you have described right
11 optional. You can choose your actual name. You can      11 now, is there any other vetting that WhatsApp does
12 choose a nickname. I think there's an option to put     12 prior to granting a user account to someone?
13 in a photo and things like that, which you can do,      13     A Sir, I'm not an expert in this, but we do
14 if you chose.                                           14 have quite a talented group of people that are
15        And after that, you're able to chat freely       15 looking for signals of inauthenticity and perhaps
16 and securely.                                           16 abuse right from the setup time.
17     Q (BY ATTORNEY AKROTIRIANAKIS) So the "Name         17        So what we're looking for there is
18 Field" is not required?                                 18 potentially accounts that may be intended to be set
19     A I don't believe so, sir. I think you have         19 up for spam or automation or other account setup
20 to enter something in that name, but you don't have     20 that is inauthentic in some way.
21 to chose your actual name.                              21        I'm drawing to draw a distinction between
22        Does that --                                     22 that and a normal person who is just trying to use
23     Q Could --                                          23 WhatsApp for private and secure calls.
24     A -- distinction make sense?                        24     Q So like a -- you're trying to ferret out
25     Q Okay. It could be literally anything?             25 whether it's an actual person or a bot that's
                                                Page 180                                                   Page 181
1 setting the account?                                     1 multiple apps on one phone.
2     A I think that's fair to say, sir, yes.              2         So for example, we have the WhatsApp app
3     Q Okay. But assuming that somebody is an             3 and we have WhatsApp Business app.
 4 actual person, literally anybody could sign up for a    4         And you could use your phone and download
 5 WhatsApp account, as long as they have a mobile         5 both instances of WhatsApp on your phone.
 6 phone and the ability to download the WhatsApp app,     6         And the reason why some people want to do
 7 correct?                                                7 that is because they're a small business and they
 8    A Right. And then that text message                  8 like to separate their chats from their personal use
 9 authentication that I mentioned. Those basic steps.     9 and their business use. So it effectively gives
10     Q Right. But you don't, like, say: Like,            10 them two Inboxes to do so.
11 well, is this a person who we really want using our     11         And the Business app has some of its
12 system?                                                 12 own -- different policies and rules that I'm less
13         They just decide themselves, right?             13 familiar with. But effectively that's designed for
14     A That's right.                                     14 the small business owner that relies on WhatsApp to,
15     Q Can a person have multiple WhatsApp               15 you know, run their business, respond to customer
16 accounts with different phone numbers?                  16 inquiries, and hopefully run a successful business
17     A Yes. But basically a phone number -- an           17 that -- for their customers.
18 easier way of thinking of it is that an account is      18    Q So let's go back to the names.
19 tied to a phone number.                                 19         You said that -- that you have to -- that
20         So if you have two phones, then you could       20 your belief is that you have to put in something in
21 have a WhatsApp on one phone and a WhatsApp on the      21 the -- in the "Setup" field that requests a name,
22 other phone. That would be two accounts, but you        22 but it's incons -- inconsequential what it is that's
23 may be the same -- the same person. We have that.       23 put into that field; is that fair?
24         And then we also have the ability to            24    A That's fair. It's a user choice.
25 have -- we have multiple -- the ability to install      25    Q And that's permitted by the WhatsApp Terms



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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                                    Pages· 382..384
                                                            Page 382                                                             Page 383
 1                                                                      1        I, MARY J. GOFF, CSR No. 13427, Certified
 2                                                                      2   Shorthand Reporter of the State of California,
 3                                                                      3   certify;
 4          I, CARL WOOG, do hereby declare under penalty               4        That the foregoing proceedings were taken
 5   of perjury that I have read the foregoing                          5   before me at the time and place herein set forth, at
 6   transcript; that I have made any corrections as                    6   which time the witness declared under penalty of
 7   appear noted, in ink, initialed by me, or attached                 7   perjury; that the testimony of the witness and all
 8   hereto; that my testimony as contained herein, as                  8   objections made at the time of the examination were
 9   corrected, is true and correct.
                                                                        9   recorded stenographically by me and were thereafter
10          EXECUTED this_______ day of_________________,
                                                                       10   transcribed under my direction and supervision; that
11   20____, at___________________, ___________________.
                                                                       11   the foregoing is a full, true, and correct
                   (City)                   (State)
                                                                       12   transcript of my shorthand notes so taken and of the
12
                                                                       13   testimony so given;
13
                                                                       14        That before completion of the deposition,
14                    _______________________
                                                                       15   review of the transcript ( ) was (XX) was not
                              CARL WOOG
                                                                       16   requested:   (    ) that the witness has failed or
15
                                                                       17   refused to approve the transcript.
16
                                                                       18        I further certify that I am not financially
17
                                                                       19   interested in the action, and I am not a relative or
18
19                                                                     20   employee of any attorney of the parties, nor of any

20                                                                     21   of the parties.

21                                                                     22        I declare under penalty of perjury under the

22                                                                     23   laws of California that the foregoing is true and
23                                                                     24   correct, dated this    day of        , 2024.
24                                                                     25                _________________________
25                                                                                       MARY J. GOFF

                                                            Page 384
 1                           ERRATA SHEET
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 6                   CASE:   WhatsApp v. NSO Group
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12   ____|______|_________________________|______________
13   ____|______|_________________________|______________
14   ____|______|_________________________|______________
15   ____|______|_________________________|______________
16   ____|______|_________________________|______________
17   ____|______|_________________________|______________
18
19            ______________________________
20            CARL WOOG
21   Subscribed and sworn to before me
22   this _____ day of _____________, 2024.
23   ______________________________________
24                 Notary Public
25




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                 EXHIBIT 4
REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED
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     WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
1                          UNITED STATES DISTRICT COURT

2                        NORTHERN DISTRICT OF CALIFORNIA

3                                    OAKLAND DIVISION

4     __________________________________

5     WHATSAPP INC., a Delaware          )
      corporation, and FACEBOOK, INC.,   )
6     a Delaware corporation,            )
      a Delaware corporation,            )
7                                        )
                  Plaintiffs,            )
8         v.                             ) Case No.
                                         ) 4:19-cv-07123-PJH
9     NSO GROUP TECHNOLOGIES LIMITED     )
      and Q CYBER TECHNOLOGIES LIMITED, )
10                                       )
                                         )
11                Defendants.            )
      ___________________________________)
12

13               HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14                  VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15                                     DEPOSITION OF

16           WHATSAPP INC., by and through its Designated

17                                     Representative,

18                                   CLAUDIU GHEORGHE

19                           Palo Alto, California 94304

20                              Friday, August 16, 2024

21

22    Reported Stenographically by:
      MARY J. GOFF
23    CSR No. 13427
      WA CSR No. 21030779
24    Job No. 3296
      PAGES 1-295
25
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                                                Page 26                                                      Page 27
1     A I'm confused.                                      1 it?
2     Q Let me rephrase. Scratch that.                     2     A Yes.
3     A Yeah.                                              3     Q And so that structure would involve some
4     Q Are the stanzas in XML?                           4 parameters and parameter values -- sort of parameter
5     A I believe it was an XML protocol, yes.            5 names and parameter values?
6     Q Okay. And so the format of the stanzas is         6        ATTORNEY BLOCK: Objection to form.
7 defined somewhere?                                      7      A It involves that, but not just that.
8     A Like right now?                                   8      Q (BY ATTORNEY WEINBERG) What else does it
9     Q In 2019. All of my questions will be              9 involve?
10 about how the system was in May of 2019.               10     A It involves other types of stanzas as well
11     A Okay. I believe there was a -- like a            11 that are child stanzas. So there's like a hierarchy
12 text document that described the stanzas in the        12 of stanzas, essentially.
13 protocol.                                              13     Q All right. So it's XML, so it's a
14        In one of the repositories that we had, it      14 hierarchical --
15 was called "the common repo" that was referenced by    15     A Yeah.
16 all the client and the server engineers.               16     Q -- structure?
17        And at that time we actually had a formal       17     A Yeah.
18 representation of the protocol in another system       18     Q And so an offer stanza, for example, is a
19 that actually led to the discovery of the attack --    19 kind of VoIP stanza?
20     Q All right.                                       20     A It's a type of stanza, yeah.
21     A -- so there was -- yeah.                         21     Q Okay. And so the structure for that kind
22     Q So a stanza, which you said is an                22 of stanza is defined in this common repo?
23 XML-defined message --                                 23     A Yeah.
24     A Yes.                                             24     Q Okay. Let me put a document in front of
25     Q -- has a certain -- certain structure to         25 you. 1167.
                                                Page 28                                                      Page 29
 1         (Exhibit 1167 was marked for                    1     Q (BY ATTORNEY WEINBERG) And so what's
 2 identification and is attached to the transcript.)      2 reflected here in this document is the actions and
 3     Q (BY ATTORNEY WEINBERG) I want to chat with        3 messages -- actions taken and messages sent for this
 4 you a bit about the stanzaming. Is that how you         4 SEV project, the stanzaming project?
 5 pronounced it, stanzaming?                              5        ATTORNEY BLOCK: Objection to form.
 6     A Stanzaming.                                       6     A Yes.
 7     Q Got it.                                           7     Q (BY ATTORNEY WEINBERG) Okay. I would like
 8         Do you recognize this document?                8 you to take a quick look at page 3. Towards the
 9     A Yes.                                             9 bottom it says that -- there's a message from
10      Q What is it?                                     10                           on Monday, May 6, at -- 2019,
11      A It displays a SEV that was filed for the        11 at 12:27 p.m.?
12 incident.                                              12      A Yes.
13      Q Okay. What is an SEV?                           13      Q And he says that the WhatsApp engineering
14      A Yeah, so a SEV or S-E-V is a formal             14 work for this SEV investigation is coordinated by
15 document used by Facebook to track the operational     15 you; is that accurate?
16 or security incidents within the company.              16      A Yes.
17      Q Okay. And what would I call this kind of        17      Q And what does that mean, it was
18 document? Is this a chat? Is this -- what kind of      18 "coordinate -- well, what is "engineering work" that
19 a system is this kept in?                              19 he is referring to?
20          ATTORNEY BLOCK: Objection to form.            20      A It is the engineering work required to
21      A So I'm trying -- like, I don't know             21 investigate and remediate the attack.
22 exactly how to explain this as a concept. Outside      22      Q And the engineering work comprises what?
23 it -- it's kind of like a task, but it's really not    23      A It involved a lot of steps and a lot of
24 like a task. It's more like a project, like, if I      24 work from -- not just from me, but from a larger
25 would have to explain it in a different way.           25 group of people.
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WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 30..33
                                                 Page 30                                                   Page 31
1     Q Okay. I guess I'm just trying to get a              1    A Ensuring progress in monitoring, yes.
 2 sense of what distinguishes engineering work from        2    Q It lists five tasks that were -- that you
 3 some other category of work that you may have not        3 were coordinating here.
 4 been responsible for.                                    4         Would you be able to just introduce us to
 5       Would you be able to shed some light on            5 each of these five tasks and what they entailed?
 6 that?                                                    6    A So Number 1 -- and by the way, I don't
 7       ATTORNEY BLOCK: Objection to form.                 7 remember all the details of these tasks right now,
8     A Like, what was the nonengineering work?             8 so I'll do my best to say it based on what I
9     Q (BY ATTORNEY WEINBERG) Well, if you're              9 remember.
10 coordinating the engineering work, was there other      10         Number 1, "logging packets from attackers
11 kinds of work that you weren't coordinating or were     11 in EdgeRay," this task was about logging data from
12 you coordinating all the work?                          12 the relay servers for the calls that we flagged at
13       ATTORNEY BLOCK: Objection to form and --          13 "suspicious" and as part of the attack.
14     A I was coordinating just the engineering at        14     Q What are the relay servers?
15 WhatsApp.                                               15     A The relay servers are the servers
16       ATTORNEY BLOCK: -- just pause and give me         16 responsible for handling the realtime traffic
17 a chance to object before you start your answer,        17 between devices during a call on WhatsApp.
18 please.                                                 18     Q So they're a proxy between WhatsApp
19     Q (BY ATTORNEY WEINBERG) Okay. And so what          19 clients?
20 does "coordinating network" mean?                       20         ATTORNEY BLOCK: Objection to form.
21     A Coordination in this case means scoping           21     A They're not just proxy. They are -- they
22 work that needs to be done in order to achieve the      22 have an essential role in establishing the realtime
23 goal.                                                   23 channel between the devices.
24     Q And monitoring its progress as well, I            24     Q (BY ATTORNEY WEINBERG) The relay servers
25 assume?                                                 25 also work in establishing the connection between
                                                 Page 32                                                   Page 33
 1 the --                                                   1       In some scenarios, it's not possible. The
 2    A They --                                             2 network configuration does not allow that to -- to
 3    Q -- clients?                                         3 happen.
 4    A -- facilitate the connection -- the                 4     Q So the relay servers will proxy
 5 realtime connection between the devices.                 5 information between the clients whenever it's not
 6    Q What's difference between facilitating and          6 possible for the clients to communicate with each
 7 establishing?                                            7 other directly; is that accurate?
 8    A In some cases there's direct                        8       ATTORNEY BLOCK: Objection to form.
 9 communication -- realtime communication between the      9     A Yes.
10 devices.                                                10     Q (BY ATTORNEY WEINBERG) I have seen a lot
11        So if I call you, in some scenarios the          11 of references to "signaling servers" in the
12 packets will actually not go through the relay. But     12 documents.
13 in order to establish -- to -- like, in order to        13        What's the difference between the relay
14 establish that channel, you have to go through the      14 servers and the signaling servers?
15 relay first. But the actual packets are not proxied     15     A There are two main flows in establishing
16 in that case.                                           16 the call on WhatsApp. The first part that happens
17        So in about 50 percent of the cases, the         17 at the beginning when you set up the call is called
18 relay acts as a proxy; but in the rest of them, it      18 signaling.
19 does not act as a proxy.                                19        And the second part that happens -- that
20     Q How do you determine -- or how does the           20 transfers the real -- makes the realtime
21 system determine whether the relay will be acting as    21 communication between the devices is the relay.
22 a proxy between clients and when it will not?           22     Q I guess I need some clarification. The --
23     A It is based on heuristics and whether             23 you said earlier that the relay servers facilitate
24 we -- we can establish a direct connection between      24 the creation of the connection?
25 the devices or not.                                     25     A Of the realtime channel.


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                                                 Page 34                                                    Page 35
1       Q Of the realtime channel.                          1    A Yes.
2          So could you clarify what's the difference       2    Q -- in the --
3 between establishing the creation of the realtime         3    A The VoIP signaling is a module within
4 channel versus initiating -- setting up a call,           4 chatd.
5 which is done by the signaling servers?                   5    Q And so the voice signaling uses the chat
6          ATTORNEY BLOCK: Objection to form.               6 functionality of WhatsApp to establish calls?
7       A So just to clarify, the difference between        7    A To start the call.
8 the -- yeah.                                              8    Q To start the call.
9       Q (BY ATTORNEY WEINBERG) Yeah, sorry. The           9         And once it starts the call, the -- the
10 signaling servers, you said, set up the call.           10 relay server establishes the realtime channel?
11          And then you said that the relay servers       11     A Exactly.
12 will help establish the realtime channel and then       12     Q And then half the time -- or some portion
13 sometimes proxy data from one client to the other;      13 of the time that relay server will then proxy data
14 is that accurate?                                       14 between the two clients and in other instance it
15      A Yes.                                             15 will -- the two clients will access -- will
16          ATTORNEY BLOCK: Objection, misstates the       16 communicate directly in a peer-to-peer fashion?
17 testimony.                                              17          ATTORNEY BLOCK: Objection to form.
18      Q (BY ATTORNEY WEINBERG) Could you expound a       18     A Yes.
19 little bit on that -- those two different functions?    19     Q (BY ATTORNEY WEINBERG) So we will get into
20      A Yes. So the setup of the call always             20 all of this in detail in a little bit. I just
21 starts with the signaling server. And the signaling     21 wanted to close the loop on this resume.
22 server is the same server that we use for chat, so      22          In 2019, shortly after the stanzaming
23 it's synonymous with chatserver.                        23 investigation, your title changed to software
24      Q Is that what's referred to as the                24 engineering manager for application security; is
25 chatdservers --                                         25 that correct?
                                                 Page 36                                                    Page 37
 1     A Yes.                                               1 partner that was assigned to WhatsApp.
 2     Q And that was a position you held from 2019         2         And part of the security team was not
 3 to 2021?                                                 3 just -- not just hiring new people that worked full
 4     A Yes.                                               4 time for WhatsApp, but it was also working
 5     Q Could you describe your work and                   5 cross-functionally with other teams in Facebook like
 6 responsibilities in that position?                       6 the Facebook security team.
 7    A So the main responsibility that I had for           7         And there were already people assigned to
 8 the WhatsApp application security team is to drive       8 WhatsApp before we had the team. It was just not
 9 the roadmap for hardening and improving security        9 organized in the same way that we did it after.
10 across WhatsApp.                                        10     Q Do you remember in 2019, when you became
11     Q And was this a new position created in            11 the software engineering manager for application
12 response to the stanzaming incident?                    12 security, who you reported to?
13        ATTORNEY BLOCK: Objection to form;               13     A The first manager that I had was
14 foundation.                                             14       .
15     A I'm not sure what you mean by -- like, in         15     Q And you had another manager after that,
16 response to that.                                       16 evidently?
17     Q (BY ATTORNEY WEINBERG) Was there a                17     A Yeah, he left the company. And then the
18 security team before you took over as the security      18 next manager that I had was                .
19 engineering manager?                                    19     Q And then how big was your team by the end
20        ATTORNEY BLOCK: Objection to form.               20 of 2019?
21     A There were people working on security, but        21     A By the end of 2019, I have to remember,
22 it was not a team dedicated to it.                      22 but I think we only had three years, I believe, in
23     Q (BY ATTORNEY WEINBERG) What's the                 23 the team.
24 difference?                                             24     Q And who were they?
25     A So we had, for instance, a security               25     A I believe                         and
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                                                 Page 38                                                   Page 39
1       .                                                   1 of "Highly Confidential, Attorneys' Eyes Only."
2     Q Can I grab Exhibit 11 -- actually, it's             2     Q (BY ATTORNEY WEINBERG) Who wrote this or
3 1083, but it'll be Document Exhibit 1149. This was        3 created this PowerPoint? Do you know?
4 used yesterday or two days ago.                           4     A It was a collaboration between multiple
5         ATTORNEY WEINBERG: 1083.                          5 people. I collaborated with. Otto Ebeling
6         (Exhibit 1083 was marked for                      6 collaborated as well. Brendon Tiszka, I believe,
7 identification and is attached to the transcript.)        7 collaborated, and Andrey Labunets.
8     Q (BY ATTORNEY WEINBERG) Do you recognize             8     Q Who is Otto Ebeling?
9 this document?                                            9     A Otto Ebeling is a security engineer. He
10    A Oh. It's a presentation. Yes, I                    10 used to be in the Facebook security team at the end
11 recognize this document.                                11 of the investigation, and he worked closely with us
12    Q What is Exhibit 1083?                              12 on the investigation.
13    A It is a presentation of the technical              13     Q At the tail end of this Exhibit 1083, it
14 details of the attack that we found and remediated      14 says -- on page 25, is a slide entitled "Going
15 in May 2019.                                            15 Forward. And it says:
16         It was presented internally inside              16            The WhatsApp security team is
17 Facebook. It was not an external document.              17        hiring.
18    Q When was it presently internally? Do you           18        Do you see that?
19 remember?                                               19     A Yes.
20    A I don't remember the exact date.                   20     Q It says:
21 Somewhere between September and November 2019, I        21            The WhatsApp security team has
22 believe.                                                22        been created and will be focusing
23         ATTORNEY BLOCK: I'm going to take this          23        on engineering work to improve the
24 opportunity before I forget to designate the            24        security of WhatsApp. Reach out to
25 transcript for confidentiality with the designation     25        Claudiu Gheorghe if you want to
                                                 Page 40                                                   Page 41
1        join WhatsApp security.                            1 there was a lot of awareness. And a lot of people
2        Do you see that?                                   2 were -- a lot of the engineers were really
3     A Yes.                                                3 interested and passionate to make security better
4     Q So I was hoping you could tell me a little          4 after we had -- we -- we started talking about the
5 bit more about this team and whether it was created,      5 details of the attack and how sophisticated these
6 it appears, in response to the stanzaming incident.       6 attacks are.
7        ATTORNEY BLOCK: Objection to the form of           7        So there was a lot of interest from
8 the question. Mischaracterizes the evidence;              8 engineers and from leaders to do more of this type
9 assumes facts.                                            9 of work to prevent...
10     A This team -- the scope of this team and           10     Q Understood.
11 the plan to build a team like that existed prior to     11        Why did you leave WhatsApp?
12 the incident.                                           12     A There's a long list of reasons. I was --
13     Q (BY ATTORNEY WEINBERG) Oh. When --                13 primarily -- there's some personal stuff that I
14     A Every product team inside Facebook had a          14 don't want to talk about. I mean, I could, if you
15 security team at that moment, so I remember talking     15 really want to.
16 about what -- about having a security team              16        But the primary one was I was there -- it
17 beforehand. I don't remember exactly the details of     17 was my first full-time job. I had never worked at
18 the conversations. I -- it's been a while since         18 any other company before -- before Facebook.
19 then.                                                   19        It was -- I was closing in on almost,
20        But the idea of having a security team           20 like, 10 years. I was actually planning to leave
21 already existed. We already had security partners       21 around, like, the time of the attack.
22 championing that idea internally.                       22        And after this attack, I just became so
23        The reason why we thought it was a good          23 interested and fascinated by what happened that I
24 thing to do is because we got so many ideas after       24 continued my tenure.
25 the incidents about what we can do, and it became --    25        So it was really just -- in my career, if
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 1     A I don't know the reason for that.                  1    Q Who is Ibrahim Mohamed?
 2     Q There's four authors listed on the front           2    A He is a team member of Otto working from
 3 of this paper. I just want to run through who each       3 London on understanding the attack. He's a security
 4 of these people are.                                     4 engineer.
 5        Who is Andrey Labunets?                           5    Q So he reported to Otto?
 6     A Andrey.                                            6    A I don't think so. Otto was not a manager.
 7     Q Andrey Labunets.                                   7 He was a senior IC on his team. And Ibrahim was
 8     A He's a member of the incident response             8 another individual contributor on the same team with
 9 team -- security incident response team at Facebook.     9 Otto.
10     Q And what was his relationship to this             10     Q So Ibrahim and Otto would be peers within
11 project?                                                11 the organization?
12     A He was one of the main coordinators of the        12     A Yes.
13 project on the security side. Me and him were           13     Q And who is Brendon Tiszka?
14 basically the main coordinators for the project.        14     A He is a security engineer, a member of the
15     Q When you say "on the security side," what         15 Facebook security team in Menlo Park.
16 do you mean by that?                                    16     Q Do you know why or -- scratch that -- how
17     A So in order to fulfill the investigation          17 WhatsApp chose who would be the authors of this
18 and the remediation, it was a collaboration between     18 report?
19 experts in WhatsApp and also WhatsApp en -- also        19        ATTORNEY BLOCK: Objection to form.
20 experts outside of the WhatsApp team like Andrey and    20     A WhatsApp did not choose the authors of
21 Otto and all the other members of this presentation.    21 this report.
22     Q All right. So we spoke about Otto Ebeling         22     Q (BY ATTORNEY WEINBERG) You contributed to
23 before. You said that he was highly involved with       23 this report, didn't you?
24 this project? That's correct?                           24     A My contribution was limited only with the
25     A Yes.                                              25 review of the document and making suggestions on it,
                                                 Page 76                                                    Page 77
 1 but I did not contribute it, like, actual content.      1 what's in here is accurate?
 2    Q You didn't author it?                              2     A Yes.
 3    A I did not author it.                               3     Q All right. We spoke earlier about Exhibit
 4    Q But you reviewed it and provided feed --           4 1083, the PowerPoint. Do you have that?
 5    A Feedback.                                          5        And I think you said that was an internal
 6    Q -- back?                                           6 PowerPoint that was a collaboration between multiple
 7        THE COURT STENOGRAPHER: I didn't hear the        7 employees, including you; is that correct?
 8 answer.                                                 8     A Yes.
 9    A I'm sorry.                                         9     Q And this PowerPoint corresponds to this --
10         And provided feedback.                          10 to the White Paper at 1148?
11     Q (BY ATTORNEY WEINBERG) And so this is the         11        ATTORNEY BLOCK: Objection to form.
12 official account of WhatsApp's technical analysis of    12     A These documents are related, but I
13 the stanzaming episode?                                 13 wouldn't say they correspond -- like, it corresponds
14         ATTORNEY BLOCK: Objection to form.              14 to the other one.
15     A What do you mean by "official"?                   15        They're different contexts that they were
16     Q (BY ATTORNEY WEINBERG) This document              16 written and authored, so I would treat them as
17 reflects WhatsApp's internal technical analysis of      17 separate documents.
18 the stanzaming incident?                                18     Q (BY ATTORNEY WEINBERG) But they -- are you
19         ATTORNEY BLOCK: Objection to form.              19 aware of any inconsistencies in their technical
20     A Especially given the list of authors, I           20 analysis of the incidents between these two
21 would characterize it as the un -- it's the document    21 documents?
22 that reflects the understanding of Facebook security    22        ATTORNEY BLOCK: Objection to form.
23 about the attack against WhatsApp.                      23     A I'm not aware right now of any
24     Q (BY ATTORNEY WEINBERG) And since you're           24 inconsistency between them.
25 one of the reviewers of this paper, you believe that    25     Q (BY ATTORNEY WEINBERG) All right. Because



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1 it just seems like it's a PowerPoint presentation of      1 devices or --
2 this paper, so --                                         2    Q So it runs on?
3      A I don't think it was that.                         3    A -- on mobile devices or as a web client.
4      Q No.                                                4    Q So the client application is not something
5      A They were done in different contexts. I            5 that runs on WhatsApp servers?
6 mean, they're related. They're on the same topic,         6    A That is correct.
7 but I don't think we wrote them together,                 7    Q It's like the app that I download off --
8 essentially.                                              8    A Exactly.
9      Q Okay. So the White Paper starts, if you            9    Q -- the store?
10 turn to page -- page 4, with a section                  10         What is the server application?
11 entitled "WhatsApp VoIP Architecture."                  11     A The server application is the server that
12         Do you see that?                                12 is used between -- for clients to send messaging or
13     A Yes.                                              13 other types of messages between each other.
14     Q So I just want to talk about the VoIP             14     Q Okay. The White Paper says here:
15 architecture, the fun stuff, what -- what it looked     15             The server functions as an
16 like, in 2019. Or more specifically how it existed      16         intermediary between the WhatsApp
17 on May 1, 2019.                                         17         applications.
18         The document here says the WhatsApp VoIP        18         Do you see that part?
19 architecture has server and a client application. I     19     A Yes.
20 think we touched on this earlier.                       20     Q I'm trying to get a sense of what that
21         Do you recall?                                  21 means. So the job of the server as an intermediary
22     A Yes.                                              22 is to transit messages from one client application
23     Q And so what is the client application?            23 to another.
24     A The client application is an official             24         Is that what this is referring to?
25 application built by WhatsApp to run on mobile          25         ATTORNEY BLOCK: Objection to form.
                                                 Page 80                                                   Page 81
 1    A Yes.                                                1 the call -- the initiation of the call starts with
 2    Q (BY ATTORNEY WEINBERG) So we spoke about            2 the signaling server, but there's -- there's some
 3 two different kinds of messaging earlier, the            3 parts of the communication between the phone that
 4 signaling servers and the relay servers.                 4 also the relay is facilitating at the beginning. So
 5        I just want to make sure that we                  5 it's --
 6 distinguish those and talk a little bit about the        6     Q (BY ATTORNEY WEINBERG) So --
 7 functionality of each of them. So the White Paper        7     A -- a shared responsibility between
 8 says that the application -- I'm sorry --                8 signaling and the relay server.
 9            The server application helps                  9     Q Okay. Can you explain to me how that
10         the clients establish a call.                   10 works?
11         Is this referring to the signaling server?      11      A What part of it?
12 Let me --                                               12      Q You said that there was a shared
13         ATTORNEY BLOCK: I object -- I'm going to        13 responsibility for initiating calls; the signaling
14 object to the question.                                 14 server performed some functions the relay server
15      Q (BY ATTORNEY WEINBERG) -- let me withdraw        15 performs some attended functions as well?
16 and rephrase. I'm just trying to get a sense of --      16      A Yes.
17 when this paper -- White Paper is talking about the     17      Q I just wanted you to break that out for me
18 server application, I'm trying to figure out if it's    18 so I understand what functions they perform and how
19 talking about both of those kinds of servers or just    19 they perform them.
20 one.                                                    20         ATTORNEY BLOCK: Objection to form.
21         So my first question is: For establishing       21      A The signaling server is used to initiate
22 a call, that's the signaling server, from my            22 the voice or video call. Everything starts with the
23 understanding; is that correct?                         23 signaling server.
24         ATTORNEY BLOCK: Object to form.                 24         It is using a previously authenticated
25      A It is partially correct. So a starting of        25 channel that is also used for messaging to initiate


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 1 but it's the same system that Facebook uses for all      1     Q So when we're at the logical layer, the
 2 the other products like Instagram and other things.      2 WhatsApp DNS resolver is sending out this request to
 3    Q Can a request specify that it has to go to          3 its chosen edge load balancer, which it chooses on
 4 a particular edge load balancer?                         4 its own?
 5        ATTORNEY BLOCK: Objection to form.                5     A Which is a logical, yes.
 6    A Not that I'm aware of.                              6     Q So what I'm asking is: How many choices
 7    Q (BY ATTORNEY WEINBERG) Where are -- I'm             7 does the WhatsApp DNS resolver have?
 8 sorry. Scratch that.                                     8     A Yes. More than hundred.
 9        You said the edge load balancer is a              9     Q Over a hundred.
10 logical server; is that correct?                        10        And so behind those 100 logical servers
11     A Yes.                                              11 that implement the edge load balancer, there are
12     Q How many are there -- or were there in            12 also physical servers, correct?
13 2019?                                                   13      A Yes, at every layer of the load balancing
14     A How many logical servers?                         14 there are -- so every layer has its own logical and
15     Q How many logical -- how many logical              15 physical set of servers.
16 servers implemented the edge load balancing layer in    16        In one PoP in one edge location there's
17 2019?                                                   17 typically, like, either four or four racks of
18         ATTORNEY BLOCK: Objection to form.              18 servers, which is, like, somewhere between, like,
19     A So how many locations across the globe?           19 32 and 128, I think, servers for each edge location.
20     Q (BY ATTORNEY WEINBERG) No. So there -- we         20      Q So are all the physical servers of any
21 spoke about logical servers and the physical            21 given logical server of the edge load balancer in
22 servers --                                              22 the same location? Maybe I'll rephrase the question
23     A Yes.                                              23 for you.
24     Q -- behind them?                                   24      A Yes, please.
25     A Yeah.                                             25      Q You said that there's over a hundred
                                                 Page 92                                                    Page 93
 1 logical servers that implement edge load balancing?     1     Q (BY ATTORNEY WEINBERG) All right. So just
 2        ATTORNEY BLOCK: Objection to form.               2 to be clear -- I just want to make sure that the --
 3    A There are hundred -- more than a hundred           3 once a request is sent to a logical server at a
 4 locations across the globe that are edge locations.     4 particular edge location, the physical server that
 5    Q (BY ATTORNEY WEINBERG) Okay. And so each           5 will handle that request is going to be at that same
 6 one of these locations will have one or more logical    6 location at a particular location, the edge
 7 servers there that can be addressed by requests         7 location?
 8 coming from the WhatsApp DNS resolver?                  8         ATTORNEY BLOCK: Objection to form.
 9        ATTORNEY BLOCK: Objection --                      9    A What do you mean by "handling"?
10     A Yes.                                              10     Q (BY ATTORNEY WEINBERG) Well, requests are
11         ATTORNEY BLOCK: -- to form.                     11 handled -- in a client server architecture, clients
12     Q (BY ATTORNEY WEINBERG) Is it typically one        12 send requests to servers and servers handle the
13 logical server per location or were there some          13 requests, right?
14 locations that had multiple logical servers?            14        ATTORNEY BLOCK: Objection to form.
15         ATTORNEY BLOCK: Objection to form.              15     A So my understanding of the handling, it
16     A What I understand as a logical server in          16 depends on the layer of -- in the software stack.
17 this case is what we call a virtual IP.                 17        The edge location will only do minimal
18         And every edge location has a lot of            18 handling. Like, it does some handling of the
19 virtual IPs for every Facebook service. So this is      19 request with regards to routing.
20 shared infrastructure that all of Facebook services     20        So it will unpack the header of the
21 use.                                                    21 request and look for some information in that header
22         Instagram will have their own IP.               22 to see to -- to see what data center it has to route
23 WhatsApp has their own IP. And behind that IP is --     23 the request to, but it doesn't do more than that.
24 it's a virtual IP, so it'll have a bunch of servers     24     Q (BY ATTORNEY WEINBERG) So there's two
25 behind it.                                              25 different layers of load balancing that you



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                                                Page 114                                                  Page 115
1     A So these are concurrent. So as soon as              1 caller; and now if the callee picks up the phone,
2 the caller receives -- the -- the callee receives         2 his device will send an Answer stanza somewhere?
3 the offer, as soon as it's processed and it starts        3     A To the chatd.
4 ringing in the same time, it also sends back a            4        ATTORNEY BLOCK: Objection to form.
5 confirmation to the server that it started ringing.       5     Q (BY ATTORNEY WEINBERG) The caller, once
6        And I don't recollect specifically the             6 the caller picks up the phone, the caller's phone
7 name of that stanza, but I think it's a -- I think        7 will send an Answer stanza back to the chatdserver,
8 it's an offer ACK that is being sent.                     8 right?
9     Q (BY ATTORNEY WEINBERG) Okay. What then              9        ATTORNEY BLOCK: Object to form.
10 does the chatdserver do once it receives this offer     10      A The caller will send back an answer when
11 ACK?                                                    11 the user presses the "Answer" button, yes.
12     A I think what it does is it forwards the           12         ATTORNEY BLOCK: Did you say "caller" or
13 ACK to the call so that the caller can also start       13 "callee" on that one? I got confused.
14 the ring -- the ringing process.                        14      Q (BY ATTORNEY WEINBERG) The callee would
15     Q Have you heard the term "offer" --                15 send the answer?
16 sorry -- "Answer stanza"?                               16         ATTORNEY BLOCK: I think we have got
17     A Yes.                                              17 testimony about the "caller" sending an answer
18     Q I saw it in some of the documents.                18 stanza.
19        What is it is Answer stanza?                     19         ATTORNEY AKROTIRIANAKIS: I'm sure she is
20     A The Answer stanza, I believe, is the              20 going to have to listen when she goes through it, I
21 stanza that is sent from the callee at the moment       21 hope.
22 the user presses the "Answer" button and accepts the    22      A Yeah, that's not accurate. So the answer
23 call.                                                   23 is only sent by the callee.
24     Q All right. So at our current step, the            24      Q (BY ATTORNEY WEINBERG) Got it. All right.
25 chatdserver sent the offer ACK back to the -- to the    25 At that point is there a peer-to-peer connection
                                                Page 116                                                  Page 117
 1 established?                                             1 that the caller has been reached and the offer was
 2    A No.                                                 2 ACK'd by the callee.
 3        ATTORNEY BLOCK: Objection to form.                3        And once they both know that -- both --
 4    Q (BY ATTORNEY WEINBERG) Okay. So what                4 they know about each other, that they're aware that
 5 happens next?                                            5 there's a call happening, this is when the -- the
 6    A Even before the answer happens, there's a           6 relay and bandwidth negotiation starts happening.
 7 negotiation process between the caller and the           7    Q (BY ATTORNEY WEINBERG) Okay. Tell me
 8 callee about the latency, about the bandwidth that       8 about what you mean by "the relay and bandwidth
 9 is going to be used. So all that negotiation             9 negotiation."
10 happens before there's any -- any answer.               10         ATTORNEY BLOCK: Objection to form.
11     Q Okay. So then I'll go back one step.              11     A About each of them or --
12        The chatdserver sent the offer ACK to the        12     Q (BY ATTORNEY WEINBERG) I just want to know
13 caller and now a negotiation process begins, you        13 the steps that are involved in the negotiation
14 say?                                                    14 process that you just mentioned.
15        ATTORNEY BLOCK: Objection to form.               15         ATTORNEY BLOCK: Objection to form.
16     A Sorry. So the -- the caller -- can you            16         Wait for a question.
17 repeat the last part?                                   17     Q (BY ATTORNEY WEINBERG) What are the steps
18     Q (BY ATTORNEY WEINBERG) The callee sends an        18 of the negotiation process you just mentioned?
19 acknowledgment back to the chatdserver, the offer       19         ATTORNEY BLOCK: Objection to form.
20 acknowledgment, and what happens next?                  20     A About what negotiation?
21        You talked about a negotiation process.          21     Q (BY ATTORNEY WEINBERG) You testified that
22        ATTORNEY BLOCK: Objection to form.               22 the chatdserver sends the offer ACK back to the
23     A The chat server will forward the offer ACK        23 caller.
24 or send another stanza that I don't remember its        24         And after that happens and the two -- the
25 name. But it would signal to the callee, the fact       25 caller and the callee know that they are now ready



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1 to communicate, a negotiation process begins wherein      1 callee attempt to connect to every relay in that
2 the caller and callee negotiate the relay and             2 list using the authorization token.
3 bandwidth parameters.                                     3     Q Okay. So to rephrase what you said, the
4         I would like to understand, if you could          4 chatdserver provides a list to the two clients of
5 explain to me, what that negotiation entails.             5 relay servers and provides them authentication
6         ATTORNEY BLOCK: Objection to form;                6 credentials, and each one tries to connect to the --
7 misstates.                                                7 to all of the relay servers provided to them by the
8     A So this negotiation, the relay                      8 chatdserver?
9 negotiation, starts by every -- both caller and           9     A Authorization token.
10 callee probing -- reaching all the relays in the        10         ATTORNEY BLOCK: Objection to the form;
11 list of relays that were distributed by the chat        11 misstates.
12 server.                                                 12      A Authorization token. It's only
13     Q (BY ATTORNEY WEINBERG) Sorry. Say that            13 authorization. It's not authentication.
14 again.                                                  14      Q (BY ATTORNEY WEINBERG) Okay. Tell me --
15     A So both caller and callee will attempt            15 what is that authorization token?
16 connecting to every relay in the list of relays that    16      A So the relay server is designed in a way
17 they both -- they were both given by the signaling      17 that it does not perform advanced authentication of
18 server.                                                 18 the devices that send data to it.
19     Q Okay. What's next?                                19         It operates at a lower security level
20     A This process is done not just by the              20 where the only thing that it does is validates an
21 IP address, but also by an authorization token that     21 authorization token that has a low expiration time.
22 is unique to the call. So both caller and callee        22         So as long as you have a valid token, you
23 will be passed a unique authorization token to use      23 can use the relay. So that is authorization for
24 only those specific relays.                             24 authentication, but we don't -- we don't
25         And using the token, both the caller and        25 authenticate the users of the relay.
                                                Page 120                                                   Page 121
1     Q (BY ATTORNEY WEINBERG) Okay. What is the            1 got done saying that?
2 purpose of trying to connect to all those relays?         2     A Yes, the chatdservers decide that. Yes.
3     A The purpose of connecting to the relays is          3     Q Okay. And then there's a second choice,
4 firstly to see which one is available; and second,        4 evidently, that you talked about just before this
5 to measure the latency to each of them.                   5 where the clients connect to this list of relay
6     Q Let me ask: How does the chatdserver                6 servers and then they -- each one decides which one
7 decide which relay servers to give to these two           7 of the connections to then use; is that --
8 clients?                                                  8     A I think it's a little confusing -- there's
9        ATTORNEY BLOCK: Object to form.                    9 some confusion in there, so let me clarify.
10    A The decision to pick -- to select the list         10     Q Sure.
11 of relays is based on latency measurements. And the     11     A Both the server -- both the signaling
12 information that it uses is the caller IP address       12 server and the clients make a decision in this
13 and the last seen IP of the callee.                     13 process. It's a hybrid decision.
14        The algorithm that we used at that time          14         So the server picks the top five, let's
15 was essentially to find the top three of each --        15 say, or three. But in the end, each client picks
16 based on each IP address, and we merged the list so     16 its own, like, relay to use, and that's just one.
17 that the sum of the latency is -- is the lowest.        17 But the client decides that based on the short list.
18        So we choose the top lowest latency sum in       18     Q Do the two clients have to agree on a
19 that merged list of the relays, and that's the one      19 specific relay server to use?
20 that we delivered to both of them.                      20     A They don't. The -- the network paths are
21    Q (BY ATTORNEY WEINBERG) Okay. So the                21 completely asynchronous and, like, they don't need
22 chatdserver chooses which relay servers the clients     22 to be the same.
23 should attempt to connect to?                           23         So the packets -- if I initiate a voice
24        ATTORNEY BLOCK: Object to form.                  24 video call to you, the packets that I sent to you
25    Q (BY ATTORNEY WEINBERG) I think you just            25 don't need to take the same network path that



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                                                Page 130                                                  Page 131
1     A I'm not sure what you mean by "the parts            1       ATTORNEY WEINBERG: Do you want to do
2 of the server."                                           2 lunch?
3     Q (BY ATTORNEY WEINBERG) Areas in storage.            3       ATTORNEY BLOCK: -- it's 12:45 now.
4        ATTORNEY BLOCK: Same objection.                    4    A Yeah, I can probably -- I mean, it's up to
5     A What storage?                                       5 guys as well.
6     Q (BY ATTORNEY WEINBERG) Well, computers              6       ATTORNEY BLOCK: Do you mind if we break?
7 have computer storage, right? Memory? Hard drives?        7       ATTORNEY MARZORATI: Yeah, let's do lunch.
8     A So the chat servers do not store                    8    A No.
9 information on, like, themselves.                         9       ATTORNEY WEINBERG: Let's go off the
10    Q When a computer operates, it accesses              10 record.
11 memory, right?                                          11        THE VIDEOGRAPHER: 12:45 p.m.
12    A Yes.                                               12        (A break was taken from 12:45 p.m. to
13    Q Okay. The chatdservers have memory that            13 1:49 p.m.)
14 they access?                                            14        THE VIDEOGRAPHER: We are back on the
15    A Yes.                                               15 record at 1:49 p.m.
16    Q And when they execute, they access that            16     Q (BY ATTORNEY WEINBERG) All right. Thanks.
17 memory?                                                 17 Welcome back from lunch. Just a few cleanup items
18    A Yes.                                               18 of some of the topics we spoke about earlier today.
19    Q And so when they execute code written by           19        The -- we spoke about the servers, the
20 WhatsApp, they access only those parts of the memory    20 physical and logical servers and the whole
21 that WhatsApp had programmed them to access?            21 infrastructure for routing messages in WhatsApp's
22       ATTORNEY BLOCK: Objection to form.                22 VoIP infrastructure. You spoke about the edge load
23    A Yes.                                               23 balancers.
24       ATTORNEY BLOCK: I just want to do a time          24        I just want to confirm: How many -- in
25 check. You had talked about --                          25 2019, how many servers were there that were
                                                Page 132                                                  Page 133
 1 performing this edge load balancing?                    1 California.
 2     A Are you referring to how many locations,          2    Q In 2019?
 3 like, clusters or logical servers or how many           3    A In 2019, yes.
 4 physical servers?                                       4    Q Do you have an approximation of about how
 5     Q So let's start with the locations.                5 many?
 6     A From my understanding, it was somewhere --        6    A Two.
 7 the number of locations was around a hundred.           7    Q Two.
 8    Q And where were those locations?                    8       Two total locations in California out of
 9    A So the locations are basically Internet            9 the 100?
10 exchange points on the Internet. And they're            10    A Yes.
11 geographically distributed, so they're essentially      11    Q Okay. Are those data center locations?
12 in many countries, continents, all over the globe.      12    A Edge locations. Not data centers.
13     Q And how many servers were implementing            13    Q Okay. So as far as the data centers, how
14 that edge load balancing layer?                         14 many data centers did WhatsApp utilize in 2019?
15         ATTORNEY BLOCK: Objection to form.              15    A From my recollection, we had -- WhatsApp
16     A I don't remember exactly how many servers         16 had three data centers all located in the United
17 we had in total in all these edge locations. I just     17 States in 2019 for chat.
18 know that in general the number was somewhere           18    Q And where were they?
19 between 32 and a 120.                                   19    A One of them was Altoona. The other one
20         Like, some of them even had 200 servers in      20 was in Virginia. And then there was another one in
21 them, so I don't know the total number.                 21 New Mexico, I believe.
22     Q (BY ATTORNEY WEINBERG) Okay. And these            22    Q Altoona, that's --
23 hundreds of locations, were any of them in              23    A That's in Iowa.
24 California?                                             24    Q -- Iowa?
25     A Some of them are in California -- were in         25    A Yeah.


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                                                Page 134                                                   Page 135
 1    Q Any others?                                        1     A Would you want to be more specific with
 2    A Not from what I remember.                          2 regards to, like, what authorization --
 3    Q Okay. So we spoke about the chatdservers           3     Q (BY ATTORNEY WEINBERG) Sure. Let's start
 4 and the relay servers. I'll start with the              4 with the load balancers. All right.
 5 chatdservers.                                           5         The edge load balancers, when it receives
 6       Where were they implemented? The                  6 a request, will it process it automatically or will
 7 computers that executed the chatd functionality,        7 it check for some kind of authorization?
 8 where were they located?                                8         ATTORNEY BLOCK: Object to form.
 9    A They were located in the data centers that         9     A The edge location, in case of the relay,
10 we just mentioned.                                      10 it will check the author -- authorization token in
11    Q Okay. And the relay servers, were they             11 the STUN message that is sent by the client.
12 also located in the data centers we just mentioned?     12         And if that token is not valid, it will
13    A No.                                                13 not allow the use of the relay.
14    Q Okay. Where were they located?                     14     Q (BY ATTORNEY WEINBERG) And that's those
15    A The relay servers were located in the edge         15 temporary tokens that don't do authorization -- I'm
16 locations that we talked about earlier.                 16 sorry -- that don't do authentication --
17    Q And those edge locations are the 100               17     A Exactly.
18 locations, including the two in California?             18     Q -- but instead do authorization?
19    A Yes.                                               19     A Exactly.
20    Q Okay. In order to access one of these              20     Q And what about the chatdservers? What
21 servers, for example, the chatdserver or the relay      21 kind of credentials are required for accessing the
22 servers or one of these load balancing servers,         22 functionality implemented by the chatdservers?
23 there is presumably some kind of either                 23         ATTORNEY BLOCK: Objection to form.
24 authorization or authentication that occurs? Yes?       24     A The chatdservers -- and just to be clear,
25        ATTORNEY BLOCK: Object to form.                  25 we're talking about the servers in the data centers
                                                Page 136                                                   Page 137
 1 now, not in the edge locations?                          1     Q And the client passes it along with every
 2    Q (BY ATTORNEY WEINBERG) Are the                      2 request that it makes to the chatdserver?
 3 chatdservers in the edge locations?                      3     A It doesn't. It's more complicated.
 4    A No.                                                 4     Q Okay. Tell me --
 5    Q So then the chatdservers in the data                5     A It's -- it's part of the handshake -- the
 6 centers?                                                 6 initial handshake that it does with the chatd. But
 7    A In the data centers, which is only load             7 from that point on, it uses a preshared key to -- it
 8 balancers in the edge locations.                         8 uses a negotiated shared key to encrypt the rest of
 9       And those will not perform authentication          9 the traffic.
10 for the chat traffic. The authentication happens on     10      Q Got it. How are the original credentials
11 the chat servers inside the data centers.               11 obtained?
12        And it's based on -- it's a proprietary          12      A The credentials are obtained through the
13 protocol -- it's the noise protocol that essentially    13 registration process to WhatsApp.
14 provides both encryption and authentication at the      14      Q Okay. And what does WhatsApp then send
15 same time.                                              15 the user that constitutes these credentials?
16     Q Okay. Tell me about this authentication           16         ATTORNEY BLOCK: Object to form.
17 protocol for accessing the chatdservers.                17      A I'm not sure what you mean by "what does
18        ATTORNEY BLOCK: Object to form.                  18 it send to users."
19    A What specifically do you want to know              19      Q (BY ATTORNEY WEINBERG) When the user needs
20 about it?                                               20 to authenticate the chatdservers, it needs to
21    Q (BY ATTORNEY WEINBERG) What is the form of         21 provide some kind of authenticating information, so
22 the credentials?                                        22 I'm asking: What does WhatsApp provide the client
23    A In a simplified way, the credential is             23 to help it authenticate those requests?
24 essentially an identity key that's stored on the        24         ATTORNEY BLOCK: Object to form.
25 client device.                                          25      A So in order to validate -- to



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 1 authenticate, the WhatsApp server sends an               1     A You can refer to it as a private key, yes.
 2 activation code to verify that the person who            2     Q (BY ATTORNEY WEINBERG) Okay. And how does
 3 initiates the registration process has ownership         3 it use that private key to authenticate to the
 4 over the phone number.                                   4 chatdserver?
 5        And it's over SMS. So we'll send the code         5     A It is a complex protocol which is part of
 6 over SMS. In using that code, the client can finish      6 what noise does, but it's essentially a key to
 7 the registration process. And after that is              7 there.
 8 finished, the credentials are being admitted.            8        So there's a public key and a private key.
 9        But just to be clear, that identity key           9 The public key is what is sent to the server so the
10 that I was talking about is never seen by the           10 server can verify that the client is indeed who --
11 server. It's the basis of the internal encryption.      11 who they claim they are.
12 So the identity key -- identity key is never -- does    12         So there's multiple keys involved. And
13 not -- does never leave the client device.              13 this protocol is fairly complex. So I'm not an
14      Q I'm not sure that I followed all of that.        14 encryption expert, by the way, so I can talk to some
15         The identity key is -- how does it arrive       15 aspects of it, but I don't know, like, the -- very
16 at the client device?                                   16 little details of, like, how -- how, like -- all the
17         ATTORNEY BLOCK: Objection to form.              17 steps involved and all the types of keys. There are
18      A It is generated -- like, it is generated         18 multiple keys involved in this process.
19 locally by the client device before the registration    19         But the idea is that the identity key is
20 starts and when someone installs the app on their       20 something that -- or the private key does never
21 phone.                                                  21 leave the client device.
22      Q (BY ATTORNEY WEINBERG) So the client             22      Q Okay. So client device uses this private
23 creates its own identity key kind of like a private     23 key to obtain a negotiated key with a chatdserver
24 key?                                                    24 for each session?
25         ATTORNEY BLOCK: Object to form.                 25         ATTORNEY BLOCK: Object to form.

                                                Page 140                                                   Page 141
1     A Yes.                                                1 chatdserver, the server then decrypts it using the
2     Q (BY ATTORNEY WEINBERG) Okay. And that               2 same shared key.
3 negotiated key is what gets passed to -- from the         3        How does it decide that it's an authentic
4 client to the chatdserver upon each request to the        4 message?
5 chatdserver?                                              5        ATTORNEY BLOCK: Object to form.
6     A The shared key not passed. The shared key           6    A It would not be able to decrypt the
7 is only used an encryption key for the -- as a block      7 content. And it would not pass all the -- the
8 cipher encryption key for the traffic.                    8 checks on the -- so the -- basically, the -- there's
9         And the server uses that shared key to            9 a verification process that checks whether the --
10 decrypt the -- that payload.                            10 the message was tampered with, it was modified.
11    Q And that same shared key is used to                11         And it will do all of that upon receival.
12 encrypt it?                                             12 The chatdserver will do that before using the
13    A By the client, yes.                                13 payload.
14    Q Okay.                                              14     Q (BY ATTORNEY WEINBERG) And that's just
15    A And this is only metadata, by the way. It          15 based on the shared key?
16 does not include, like, the actual content of the       16     A Yes.
17 messages. That's a different -- a different thing.      17     Q Okay. You told us a moment ago about the
18    Q I'm sorry. The key is used to encrypt              18 server locations for the chat features. And I think
19 only metadata?                                          19 that you testified earlier today that the VoIP uses
20    A The -- yes, it's used to encrypt the data          20 the -- those chat servers.
21 that is sent between the client and the server over     21         So I just want to confirm that the --
22 the Internet so that someone cannot just look at the    22 those server locations we discussed just now are for
23 traffic and understand what the client is talking       23 the -- are the servers being used for voice over IP.
24 with the server.                                        24         ATTORNEY BLOCK: Object to the form of the
25    Q When that message arrives at the                   25 question.


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1 factual basis for Plaintiffs' contention that            1        including a QuadraNet server in
2 Defendants purposely directed their conduct at           2        California.
3 California, including conduct at this QuadraNet          3        And I will refer generally to Responses
4 server, which I believe is this "220 server" in          4 and Objections that we served shortly after
5 paragraph 4?                                             5 receiving your amended notice.
6        ATTORNEY BLOCK: I object to the form of           6        ATTORNEY WEINBERG: All right. So I'm
7 the question. And that's not the witness's               7 asking about any factual basis that Plaintiffs have
 8 designation.                                            8 to contend that Pegasus or NSO had access -- had
 9       ATTORNEY WEINBERG: He's not designated on         9 contact with this QuadraNet server.
10 Topic 1?                                                10    Q (BY ATTORNEY WEINBERG) And is your
11       ATTORNEY BLOCK: He's not designated on            11 contention that the analysis by Andrew Robinson was
12 what you read.                                          12 simply that the user's target phone accessed this
13       ATTORNEY WEINBERG: Okay. What is he               13 QuadraNet server?
14 designated on for Topic 1?                              14        ATTORNEY BLOCK: I object to the form of
15       ATTORNEY BLOCK: He is designated to:              15 the question.
16           Provide relevant nonprivileged                16        The witness is here to provide testimony,
17       information as to matters known or                17 not contentions. And the question misstates the
18       reasonably available to Plaintiffs                18 record.
19       regarding Plaintiffs' understanding               19    Q (BY ATTORNEY WEINBERG) Okay. I think we
20       of the operation of the NSO spyware               20 may have exhausted your knowledge about these -- the
21       involved in NSO's unauthorized                    21 nature of the contact with these servers.
22       access to Plaintiffs' computers in                22        Do you know anything about the QuadraNet
23       May and April 2019, including the                 23 server, which is this Server 220 in paragraph 4?
24       contact of such spyware with                      24    A I reviewed a document that showed that
25       California-based infrastructure,                  25 this IP was assigned to QuadraNet as an
                                                Page 204                                                   Page 205
 1 organization. It was part of an IP range that was        1 that showed that this IP was part of an IP range
 2 assigned to QuadraNet.                                   2 assigned to QuadraNet in -- at that time.
 3        So that's a document that I reviewed, and         3    Q (BY ATTORNEY WEINBERG) Part of an IP range
 4 I can confirm that that's accurate.                      4 assigned to QuadraNet?
 5    Q (BY ATTORNEY WEINBERG) Okay. What                   5    A Yes.
 6 document did you review that said that?                  6    Q And so this range is encompassing how many
 7    A It was a document provided by -- I don't            7 IP addresses?
 8 remember the name of the person who provided the         8    A I don't remember the -- like, how large
 9 document.                                                9 was the IP range.
10        It was based on the MaxMind database, a          10     Q Do you know whether this particular IP in
11 public IP -- GeoIP database that showed an IP range     11 paragraph 4 was assigned to a server physically
12 that contained this IP address, and it was assigned     12 located in California?
13 to QuadraNet.                                           13     A I know it was assigned to QuadraNet, but I
14     Q Was it the Mornin declaration, Joseph D.          14 did not video QuadraNet data centers to verify that
15 Mornin?                                                 15 myself. I...
16     A That does not sound familiar, but...              16     Q What about the second IP address, the one
17     Q Okay. You said that you confirmed it              17 in paragraph 5 of your declaration, the 200 server?
18 yourself. And that -- you may have just answered        18 What do you know about that IP address?
19 this, but how did you confirm it yourself that this     19     A Unfortunately, I don't know anything about
20 IP address in 2019 was assigned to a physical server    20 that IP.
21 in California?                                          21     Q Okay. Do Plaintiffs know anything about
22        ATTORNEY BLOCK: Objection, vague;                22 any server in California that was specifically
23 misstates.                                              23 targeted by -- they believe was specifically
24     A I did not confirm it. I did not do any            24 targeted by Pegasus software?
25 work to confirm it. I just reviewed the document        25        ATTORNEY BLOCK: Object to form.



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 1    A What kind of server?                                1 can't be targeted by client requests, right?
 2    Q (BY ATTORNEY WEINBERG) Any server                   2        ATTORNEY BLOCK: Object to form.
 3 physically located in California.                        3    Q (BY ATTORNEY WEINBERG) It's -- WhatsApp
 4        ATTORNEY BLOCK: Same objection.                   4 decides to how to route the relay servers -- how to
 5    A Any server owned by Facebook?                       5 write requests to the relay servers?
 6    Q (BY ATTORNEY WEINBERG) Any server in                6        ATTORNEY BLOCK: Object to form.
 7 California owned by anybody.                             7    A So the signaling server picks the relay
 8        The question is: Does -- do Plaintiffs            8 servers from all the available edge locations.
 9 know about any server physically located in              9    Q (BY ATTORNEY WEINBERG) And the signaling
10 California that was specifically targeted by Pegasus    10 server is programmed by WhatsApp?
11 software?                                               11     A By -- yes.
12        ATTORNEY BLOCK: Objection to form.               12     Q And the user can't select the relay server
13     A The only thing that I know is that during         13 to use?
14 the attack that we observed, there were some servers    14     A The user can select the relay server.
15 located in the edge locations in the San Jose and       15         What the signaling server does is selects
16 Los Angeles metro areas that were involved in those     16 from the hundred, it selects the top three or five.
17 attacks, relay servers.                                 17         But ultimately any of the clients can
18        That's the only thing -- the only                18 decide on each -- like, what relay server can you
19 information that I have.                                19 use from the set of three or five.
20     Q (BY ATTORNEY WEINBERG) Okay. But do               20     Q And the relay servers, remind me, are
21 you --                                                  21 located in -- can you confirm that a user cannot
22        ATTORNEY BLOCK: Can we take a short              22 purposely direct requests at a particular relay
23 break?                                                  23 server?
24        ATTORNEY WEINBERG: Just one second.              24         ATTORNEY BLOCK: Object to form.
25     Q (BY ATTORNEY WEINBERG) The relay server           25     A That's not entirely correct. So a user
                                                Page 208                                                  Page 209
1 a -- a client is given a lister of relays.                1 week or so before closing the vulnerability to see
2        And as part of the relay negotiation               2 if they could gain some insight into -- into the
3 process, every client conducts all the relays they        3 incident; is that correct?
4 were given. But ultimately, the data packets that         4        ATTORNEY BLOCK: Object to form.
5 are being sent is up in the decision of each client.      5      A Yes, we firstly detected the suspicious
6 So they decide on their own which relay server to         6 activity. I don't remember exactly the day. I
7 use.                                                      7 think it was Thursday or Friday.
8     Q (BY ATTORNEY WEINBERG) Okay.                        8        And the following Friday -- until the
 9       ATTORNEY BLOCK: Can we take that short             9 following Friday, we did logging of the activity of
10 break?                                                  10 the attack in order to gain an understanding of how
11        ATTORNEY WEINBERG: Sure.                         11 the attack works.
12        THE VIDEOGRAPHER: Off the record at              12         ATTORNEY BLOCK: I don't want to interrupt
13 4:11 p.m.                                               13 you, but I probably should have done it before you
14        (A break was taken from 4:11 p.m. to             14 started. I thought you were going to go there
15 4:30 p.m.)                                              15 first.
16        THE VIDEOGRAPHER: We were on the record          16         As I mentioned to you off the record,
17 at 4:30 p.m.                                            17 during the break Mr. Gheorghe did some rereview of
18     Q (BY ATTORNEY WEINBERG) Thank you.                 18 some of the prep that he did for his incorporate
19        So just before we left off you were              19 representative topics, including with respect to
20 talking about the investigation that WhatsApp           20 QuadraNet, so I commend to you revisiting those
21 conducted for -- I guess it's about -- around the       21 topics when you wish to do so.
22 week of May 2, 2019?                                    22         ATTORNEY WEINBERG: All right. Thank you.
23     A What investigation about the attack?              23      Q (BY ATTORNEY WEINBERG) If you could take a
24     Q The stanzaming investigation. From what I         24 quick look at 1167. That's Exhibit 1167. It's the
25 understand, WhatsApp studied traffic for about a        25 stanzaming chat. Just at page -- I'll remind you



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 1 that at the bottom of page 1, there was this --         1         ATTORNEY BLOCK: Object to form.
 2 actually, I guess, the -- yeah, at the top of page 2    2     A I haven't reviewed that "diff" for, like,
 3 where it says that the suspicious stanza received in    3 years, so I don't know about all the details in it,
 4 this incident was being sent on May 2, 2019. That's     4 but it's likely a change that enforces the
 5 the second and third line of that.                      5 validation -- like, the blocking -- it does
 6         So this instance sort of began it -- on         6 enforcement for the stanza validation --
 7 May 2, 2019, correct?                                   7     Q (BY ATTORNEY WEINBERG) Got it.
 8     A Yes.                                              8     A -- for the signaling server.
 9     Q And then if you go down to the next line          9     Q Understood. And it says:
10 where you have got Joaquin speak -- writing on          10            This can mitigate the impact,
11 Friday, May 3, at 4:49 a.m., he says:                   11        but we would like to first identify
12              Here is a "diff" -- with the               12        the vulnerability, if there is,
13         name of a "diff" -- that will                   13        before modifying this.
14         enforce our servers to only accept              14        And so what he is saying there is: Hey,
15         valid stanzas. This could mitigate              15 let's not push this valid -- this enforcement out to
16         the impact, but we would like to                16 the server just yet; let's leave it open for a
17         first identify the vulnerability,               17 while, observe some traffic, and see what we can
18         if there is, before modifying this.             18 learn about this incident?
19         My understanding of the "diff" in this          19        Is that what you guys ended up doing?
20 context is that there's a code change that's            20     A Yes. That is -- and by the way, this is
21 available to push to the server?                        21 an industry standard practice. We're not -- like,
22     A That's exactly right.                             22 we're just following the process, basically.
23     Q And once that gets pushed to the server,          23     Q I see.
24 it will modify the servers to only accept valid         24        So going through all these materials,
25 stanzas; is that correct?                               25 there were a lot of logs with different names. And
                                                Page 212                                                   Page 213
 1 I just want to go through some of them to figure out     1 chat server about -- at different points in handling
 2 which ones of them refer to what and whether there's     2 stanzas.
 3 repeats and -- just for nomenclature sake.               3        So once the trace log -- it's a tool.
 4     A Sure.                                              4 It's an internal tool where we would, for a
 5     Q "Server trace logs," what does that                5 particular number, enable trace logs. And we
 6 typically refer to in these documents? And I can         6 would -- once that's enabled, we would see in
 7 show you a document, if you're confused about it,        7 realtime all the activity from that number
 8 but server trace logs.                                   8 throughout the chat servers.
 9     A Refreshing my memory right now, I think            9     Q Did you also have server trace logs for
10 server trace log -- can I see the document? I think     10 the relay servers?
11 that'll be easier.                                      11      A Those are called differently. Those are
12      Q Sure. It's in 1105, the "stanza                  12 called EdgeRay logs.
13 validation project task."                               13      Q EdgeRay logs.
14         Let's see if I can find exactly where. So       14         And what kind of information is contained
15 May 4, 2019 is page 13 of the document.                 15 in the EdgeRay log?
16      A What page? Sorry.                                16      A In the EdgeRay log, we did some custom
17      Q Page 13 of the document is -- there's a          17 logging regarding the source IP of the packet, the
18 comment by Jesus on May 4, 2019. He says:               18 destination IP, the size of the packet, and the
19             Adding server trace logs for                19 content of the packet, I believe.
20         some number, sending the malicious              20         We were changing that logging format quite
21         stanza.                                         21 a lot, so I don't know off the top of my head, like,
22         ATTORNEY BLOCK: Object to form.                 22 all the fields that we were logging.
23      Q (BY ATTORNEY WEINBERG) The question is:          23         But at a high level, that's -- those are
24 What is the trace log?                                  24 the ones that I remember right now.
25      A The server trace log is a log from the           25      Q Okay. Validation log?


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 1 of the C2 servers was located on AW -- was hosted by     1 remediation of the attack entailed three fixes. Two
 2 AWS. And we tried to reach out to AWS to give us         2 of them were server side, and one of them --
 3 whatever they had on that machine that had that IP.      3     Q Two server side?
 4        I don't know what he means by "payload" in        4     A -- two server-side fixes and one client
 5 this case. Payload is kind of a generic name, so I       5 side fix that was rolled out with all the
 6 don't know what he means by "payload." But that's        6 applications, all the platforms that use WhatsApp,
 7 what I know that we tried to get from AWS.               7 the Android, iPhone, whatever. Like, all the
 8     Q (BY ATTORNEY WEINBERG) I would presume             8 phones.
 9 that the payload from a C2 server is whatever it is      9     Q The client-side fixes were for Android and
10 that the C2 server is programmed to deliver to a        10 iPhone?
11 client, right?                                          11     A Yes. It was a cross -- cross-platform
12         ATTORNEY BLOCK: Object to form; calls for       12 fix. It was the same fix that would apply to both
13 speculation.                                            13 platforms.
14     A Yeah, I don't know what he meant.                 14     Q Okay. So the vulnerability on the client
15     Q (BY ATTORNEY WEINBERG) All right. All             15 was both an Android and an iOS exploit?
16 right. So just about the fixes then.                    16         ATTORNEY BLOCK: Object to form.
17         In this document, do you see on page --         17     A So the vulnerability was in the C code
18 the second page in that same Aby John comment that      18 responsible for handling voice and video calling
19 we just spoke about, it discusses server fixes and      19 logic, and it was the same code running on both of
20 client fixes.                                           20 these platforms.
21         So can you tell me about the remediation        21     Q (BY ATTORNEY WEINBERG) Okay. Did WhatsApp
22 work that WhatsApp did in response to this -- to        22 have any evidence that any iOS devices were
23 this incident?                                          23 compromised using this vulnerability?
24     A Yeah, I can talk about that.                      24     A From what I remember, yes, we had some
25         So the remediation -- the immediate             25 iOS -- some samples of the attacks that were

                                                Page 272                                                   Page 273
 1 targeting iOS devices, but a majority of the             1 server-side fix -- sorry -- the client-side fix, you
 2 samples, from what I remember, was all Android.          2 rolled out an update to the Android Google store?
 3    Q I'll have you take a look at Exhibit 1119.          3     A The Play Store.
 4         (Exhibit 1119 was marked for                     4     Q The Play Store; is that correct?
 5 identification and is attached to the transcript.)       5     A Yes.
 6    A Yeah.                                               6        ATTORNEY BLOCK: Objection to form.
 7    Q (BY ATTORNEY WEINBERG) Just -- my only              7 Sorry. Belated.
 8 questions on this is: This is a WorkChat that you        8     Q (BY ATTORNEY WEINBERG) Did you send the
 9 received on May 14, 2019?                                9 same update to the Apple Store -- App Store?
10     A Yeah.                                             10         ATTORNEY BLOCK: Objection to form.
11     Q I think that's it.                                11      A Yes, we did.
12     A Okay.                                             12      Q (BY ATTORNEY WEINBERG) Tell me about the
13     Q What was the client-side fix that you             13 server-side fixes.
14 talked about?                                           14      A The first fix we rolled out on the server
15     A The client-side fix was preventing the            15 side was for the relay. And we rolled that out on
16 buffer overflow that was used in the remote code        16 Friday. I don't remember the actual date, that
17 execution.                                              17 week.
18          So we limited the buffer size sent -- that     18      Q Okay. So what did you do to the relay
19 is sent from the remote end. We limited it to the       19 server --
20 size of the buffer that we have locally. So after       20      A The relay server --
21 that fix, memory corruption could not occur anymore.    21      Q -- software?
22     Q Was the buffer overflow vulnerability in a        22      A -- sorry?
23 piece of third-party software?                          23      Q The relay server software.
24     A No.                                               24      A Yes. So the relay server fix was about
25     Q And you -- to roll out this                       25 limiting the messages that were used, the SRTPSR and



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 1 RR.                                                     1 temporary change that we made only for this. We
 2       The messages that were used to do -- to           2 pulled it out after we rolled out the client fix.
 3 exploit the buffer overflow were being kept and         3 We did it just to break their exploit, basically.
 4 dropped by the -- by the server. So a normal            4        From a protocol perspective, the
 5 WhatsApp application would not send these really        5 message -- like, you -- it wasn't -- it was just
 6 large SR and RR SRTP packets. So it was very easy       6 very -- something very specific that only those
 7 for us to identify the ones sent by a malicious --      7 clients were sending, so that's why we could do it.
 8 by a fake client.                                       8     Q And in that respect, the change to the
 9       In this case it was the fake client that          9 relay server created an additional barrier to -- to
10 was attacking the victim, so it was very easy for us    10 the exploit that didn't exist before; so it,
11 to basically put some logic in place that would         11 therefore, enhanced the security of the relay server
12 basically -- that would just drop those SRTPRR          12 beyond what it was?
13 messages.                                               13    A It -- it did not enhance the security of
14        And as an effect, we observed immediately        14 the relay server at all. It -- the only reason why
15 a different behavior in the pattern of the attacks,     15 we put that change is to break that specific
16 so we knew for sure that -- that we -- we broke         16 exploit, yes.
17 their exploit.                                          17    Q Did the change restore the server to a
18        It seemed kind of like it was broken, but        18 previous condition?
19 it wasn't clear. It seemed broken, but it wasn't        19       ATTORNEY BLOCK: Objection to form.
20 clear that we actually found it. And we did it --       20    A Restore the server to a previous
21 that intentionally to monitor their behavior.           21 condition? I'm not sure what that means.
22     Q So this change to the relay server                22    Q (BY ATTORNEY WEINBERG) The client-side
23 enhanced the security of the relay server beyond        23 vulnerability, I think that's the one that was
24 what it was before the fix?                             24 reported in the CVE, right?
25     A No, it did not. It was actually a                 25       ATTORNEY BLOCK: Object to form.
                                                Page 276                                                   Page 277
1     A What CVE?                                           1        number. The issue affects WhatsApp
2     Q (BY ATTORNEY WEINBERG) It's this -- the             2        for Android prior to
3 number is listed on the White Paper, if you want to       3        Version 2.19.134, WhatsApp Business
4 look at it, but CVE-2019-3568.                            4        for Android prior to
5     A Can I get that?                                     5        Version 2.19.44, WhatsApp for iOS
6     Q And 1148 is the exhibit number.                     6        prior to Version 2.19.51, and so
7        ATTORNEY BLOCK: You're looking for --              7        on.
8     A Yeah, got it. 3568. Yes, that's the one.            8        All right. So this only refers to the
9     Q (BY ATTORNEY WEINBERG) So just for the              9 client-side vulnerability, right? And this -- this
10 record, you have identified the same CVE number on      10 CVE refers to the client-side vulnerability?
11 the CVE list at Exhibit 1163?                           11         ATTORNEY BLOCK: Object to form.
12    A Yes.                                               12     A Yes.
13    Q So this says that the buffer overflow --           13     Q (BY ATTORNEY WEINBERG) And that
14 I'm looking at Exhibit 1163 at page 4. And I am         14 vulnerability existed in WhatsApp's code as WhatsApp
15 looking at the entry here for CVE-2019-3568.            15 wrote the code, right?
16        And that's the vulnerability that was            16         ATTORNEY BLOCK: Objection to form.
17 closed with the client-side fix, right?                 17     A So the way -- the way I look at the
18    A Yes.                                               18 vulnerability is it's a -- the vulnerability exists
19    Q So this is -- the description of that              19 in the moment when you have an attack that exploits
20 vulnerability, it says:                                 20 it.
21            A buffer overflow                            21     Q (BY ATTORNEY WEINBERG) I don't know if
22        vulnerability in WhatsApp VoIP                   22 that's right. What's the difference between a
23        stack allowed remote code execution              23 vulnerability and an exploit?
24        via a specially crafted series of                24         ATTORNEY BLOCK: Objection to form; scope.
25        RTCP packets sent to a target phone              25     Q (BY ATTORNEY WEINBERG) Isn't it the case



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WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 278..281
                                                Page 278                                                   Page 279
 1 that a vulnerability is a potential for                  1        ATTORNEY BLOCK: Huh?
 2 exploitation, and an exploit is when the                 2     A They're just flaws. The moment you build
 3 vulnerability is actually exploited?                     3 an attack --
 4        ATTORNEY BLOCK: Objection to form; and            4        ATTORNEY BLOCK: Can you just let the
 5 scope.                                                   5 witness finish his answer before you interrupt?
 6    A So the way I see a vulnerability is in --           6        ATTORNEY WEINBERG: He paused.
 7 like, that exists in the moment you have an attack       7     Q (BY ATTORNEY WEINBERG) Go ahead.
 8 that -- that uses it.                                    8     A So there's always going to be flaws in --
 9    Q (BY ATTORNEY WEINBERG) Don't you have a             9 in the software. Like, it's always there. There's
10 vulnerability the moment you write a code that has a    10 always -- any software that exists today has some
11 vulnerability?                                          11 flaws in it.
12         Like, if I make a fence and the fence has       12         The moment that becomes a vulnerability
13 a gap in it, the fence has a vulnerability. And if      13 and becomes relevant is when someone is able to
14 somebody walks through that fence -- that gap in the    14 exploit it and have an attack that uses it.
15 fence, that's -- that's an exploit of the               15         Until then, it's -- it's just software.
16 vulnerability?                                          16     Q (BY ATTORNEY WEINBERG) Okay. I think we
17     A No, I don't --                                    17 are just having a semantic discussion. So we want
18         ATTORNEY BLOCK: Object to -- sorry.             18 to call the hole in the software that is
19 Objection to form; scope; vagueness; incomplete         19 exploitable, a flaw?
20 hypothetical, et cetera.                                20         ATTORNEY BLOCK: Objection to form.
21     A -- yeah, I don't agree with that.                 21     A I think a vulnerability is -- is a flaw.
22         So software has virtually, like, always         22 My point is that an attack is the one that validates
23 some flaws in it.                                       23 that you can use that flaw to do something bad with
24     Q (BY ATTORNEY WEINBERG) What would you call        24 it.
25 those flaws?                                            25     Q (BY ATTORNEY WEINBERG) And I guess my only
                                                Page 280                                                   Page 281
 1 question is that: That flaw existed in WhatsApp's       1     A -- on the client, yes. They changed the
 2 software as WhatsApp wrote it, right? It wasn't         2 WhatsApp client on -- they changed the WhatsApp code
 3 created by anybody else?                                3 running on the victim's phone.
 4        ATTORNEY BLOCK: Objection to form.               4     Q But the flaw or vulnerability they used to
 5    A So we -- we wrote the software for the             5 do that, which is the vulnerability disclosed at
 6 VoIP stack having in mind all the -- like, we           6 CVE-2019-3568, was a vulnerability that existed in
 7 designed it and we wrote it, assuming that the          7 WhatsApp's code as WhatsApp had released it?
 8 messages being sent are a part of the WhatsApp          8        ATTORNEY BLOCK: Objection to form. It's
 9 network and that they're official clients built by      9 asked and answered. And I think it's time to move
10 the WhatsApp team.                                      10 on.
11        So with that regards, there was no flaw.         11        ATTORNEY WEINBERG: All right. Let's go
12 Voice calling was working perfectly fine.               12 off the record for a bit.
13     Q (BY ATTORNEY WEINBERG) Nobody changed             13        THE VIDEOGRAPHER: It's 6:59 p.m.
14 WhatsApp's code, right?                                 14        (A break was taken from 6:59 p.m. to
15        ATTORNEY BLOCK: Object to form.                  15 7:06 p.m.)
16     Q (BY ATTORNEY WEINBERG) No -- pegasus              16        THE VIDEOGRAPHER: Back on the record at
17 didn't change WhatsApp's code, correct?                 17 7:06 p.m.
18     A I --                                              18     Q (BY ATTORNEY WEINBERG) All right. You
19        ATTORNEY BLOCK: Object to form and scope.        19 said that there were two server changes that were
20     A -- I actually don't agree with that.              20 precipitated by this. The first one was this relay
21 Because they changed the memory layout of the           21 server change.
22 application and they actually did change the            22        What was the second?
23 WhatsApp code.                                          23     A The second fix was on the signaling server
24        They made the --                                 24 that enforced the validation of the stanza -- of the
25     Q (BY ATTORNEY WEINBERG) On the client?             25 offer stanzas and dropped them.



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                                                          Page 294                                                            Page 295
 1        I, MARY J. GOFF, CSR No. 13427, Certified                   1                         ERRATA SHEET
 2   Shorthand Reporter of the State of California,                   2                         SWIVEL LEGAL
 3   certify;                                                         3                    560 W Main Street, C163
 4        That the foregoing proceedings were taken                   4                  Alhambra, California 91801
 5   before me at the time and place herein set forth, at             5                         213-788-2327
 6   which time the witness declared under penalty of                 6                 CASE:   WhatsApp v. NSO Group
 7   perjury; that the testimony of the witness and all               7   PAGE   LINE   FROM                       TO
 8   objections made at the time of the examination were              8   ____|______|_________________________|______________
 9   recorded stenographically by me and were thereafter
                                                                      9   ____|______|_________________________|______________
10   transcribed under my direction and supervision; that
                                                                     10   ____|______|_________________________|______________
11   the foregoing is a full, true, and correct
                                                                     11   ____|______|_________________________|______________
12   transcript of my shorthand notes so taken and of the
                                                                     12   ____|______|_________________________|______________
13   testimony so given;
                                                                     13   ____|______|_________________________|______________
14        That before completion of the deposition,
                                                                     14   ____|______|_________________________|______________
15   review of the transcript ( ) was (XX) was not
                                                                     15   ____|______|_________________________|______________
16   requested:   (    ) that the witness has failed or
                                                                     16   ____|______|_________________________|______________
17   refused to approve the transcript.
                                                                     17   ____|______|_________________________|______________
18        I further certify that I am not financially
                                                                     18
19   interested in the action, and I am not a relative or
                                                                     19           ______________________________
20   employee of any attorney of the parties, nor of any
21   of the parties.                                                 20           CLAUDIU GHEORGHE

22        I declare under penalty of perjury under the               21   Subscribed and sworn to before me

23   laws of California that the foregoing is true and               22   this _____ day of _____________, 2024.

24   correct, dated this     day of       , 2024.                    23   ______________________________________
25                _________________________                          24             Notary Public
                  MARY J. GOFF                                       25




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                EXHIBIT 6
             FILED UNDER SEAL
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                EXHIBIT 7
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                EXHIBIT 9
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               EXHIBIT 12
REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED
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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA




                                           )
                                           )
WHATSAPP INC. and                          )
META PLATFORMS, INC.,                      )
                                           )
                        Plaintiffs,        )
                                           )
                                           )      Case No. 19-cv-07123-PJH
v.                                         )
                                           )
                                           )
NSO GROUP TECHNOLOGIES                     )
LIMITED and Q CYBER                        )
TECHNOLOGIES LIMITED,                      )

                      Defendants.




                 EXPERT REPORT OF DANA TREXLER, CPA/CFF

                                      August 30, 2024

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         I.     INTRODUCTION
1.   On October 29, 2019, WhatsApp Inc. (“WhatsApp”) and Meta Platforms, Inc. (“Meta”)1
     (collectively, “Plaintiffs”) filed a complaint against NSO Group Technologies Limited (“NSO”)
     and Q Cyber Technologies Limited (“Q Cyber”) (collectively, “Defendants”) alleging that
     Defendants used WhatsApp servers to send malware to mobile phones and devices for the purpose
     of extracting data from other WhatsApp users’ target devices and conducting surveillance on those
     users.2 As a result of Defendants’ alleged conduct, Plaintiffs assert that Defendants violated the
     Computer Fraud and Abuse Act (in violation of 18 U.S.C. § 1030) and the California
     Comprehensive Computer Data Access and Fraud Act (in violation of California Penal Code §
     502), and breached the terms of service with WhatsApp to which Defendants became bound upon
     their creation of WhatsApp accounts.3

2.   This report contains my opinions with respect to the economic remedy amounts, along with the
     bases for these opinions, to be expressed at trial with respect to the claims filed by Plaintiffs against
     Defendants.

3.   My analyses and opinions assume Defendants will be found liable for the alleged conduct. This
     assumption is necessary as a basis for my analysis. I have not been engaged to provide opinions
     on issues relating to liability; therefore, I offer no opinions on liability in this report and do not
     intend to express any such opinions at trial.




     1
       Facebook Inc. changed its name to Meta Platforms Inc. in October 2021. See Chris Stokel-Walker, Why Facebook
     Changed Its Name to Meta and What is the Metaverse?, NewScientist (Oct. 21, 2021),
     https://www.newscientist.com/article/2295438-why-has-facebook-changed-its-name-to-meta-and-what-is-the-
     metaverse/#:~:text=Here%27s%20everything%20you%20need%20to,as%20Meta%20on%2028%20October.
     (accessed February 2024); Scott Nover, Why Facebook Changed Its Name, Quartz (Oct. 29, 2021),
     https://qz.com/2081663/why-facebook-changed-its-name-to-meta (accessed February 2024).
     2
       Complaint (Dkt. No.1), ¶ 1.
     3
       Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. The Court subsequently dismissed Plaintiffs’
     fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (Dkt. No.111).

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         II.     BASIS FOR ANALYSIS
4.   The analysis and opinions in this report are based on the information and documentation identified
     to date, my education, my experience in performing similar financial analyses and economic
     damage calculations, documents and testimony in the record, accepted damages methodologies
     and approaches, and applications of relevant case law.

5.   I am a Managing Director at Stout Risius Ross, LLC, an advisory firm that, among other services,
     provides business, economic, financial, and consulting services to clients in a variety of industries.
     I lead Stout’s national intellectual property disputes and valuations practice. I am a Certified Public
     Accountant and Certified in Financial Forensics. My education includes a Master in Business
     Administration from The Wharton School of the University of Pennsylvania and a Bachelor of
     Science degree in Accounting from Bucknell University. My curriculum vitae is attached as
     EXHIBIT A.

6.   In forming my opinions, I considered various documents produced by the parties and non-parties,
     deposition testimony, and certain legal documents from this case. Specifically, I considered the
     documents identified throughout this report and the accompanying exhibits. A list of the
     documents that I considered in forming my opinions is provided in EXHIBIT B. The documents
     and information used in my analysis and report are the types of documents and information upon
     which experts in my field typically rely when performing such an analysis. In addition to the
     documents produced by the parties, I considered relevant publicly available information of the
     type typically relied upon by experts in this field. I also spoke with the following individuals:

                Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                 Team at Meta;4

                Michael Scott, Threat Investigator within the Espionage Team at Meta;

                Drew Robinson, Security Engineer at Meta;

                Aashin Guatam, Director of Product Management at WhatsApp;

                Otto Ebeling, former Security Engineer at Meta (UK);



     4
         Deposition of Cortney Padua, 13:120-121.

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              Jesus Barcons Palau, Software Engineer at Meta;

              Claudiu Gheorghe, former Software Engineering Manager at Meta;

              YuanYuan Wang, Software Engineering Manager at Meta;

                             , Payroll Manager at Meta;

                              , Equity Programs Analyst within the Securities and Disclosure Equity
               Operations Group at Meta; and

                                , Director in Global Equity Programs at Meta.

7.    I understand that discovery is ongoing; therefore, this report is based on information available to
      date. As discussed in more detail in this report, Defendants have not produced the relevant
      information sought by Plaintiffs through discovery. Further, depositions of all of the parties’
      witnesses have yet to be completed as of the date of this report, including that of Sarit Bizinsky
      Gil, Defendants’ designated witness for financial, contract, and other relevant topics.

8.    Should additional information, testimony, or documents that affect my analysis or opinions
      become available after the issuance of my report, I reserve the right to supplement or update my
      analysis and/or opinions. Additionally, I reserve the right to supplement or update my report based
      on information, testimony, or documents that have become available within only a short period of
      time prior to the issuance of this report, as I have had insufficient time to analyze such new
      information.5

9.    I reserve the right to prepare supplemental materials such as summaries, graphical exhibits, or
      charts for trial, as well as to provide opinions and other materials in response to any additional
      expert opinions.

10.   This report is prepared in accordance with the American Institute of Certified Public Accountants
      (“AICPA”) Statement on Standards for Forensic Services. The work performed does not include
      the performance of an audit, review, or compilation of financial statements in accordance with


      5
        On August 26, 2024, four days before the deadline for this report, NSO produced a document
      (NSO_WHATSAPP_00045858) that appears to                                                               . Further, I
      understand that two of Defendants’ witnesses were deposed on August 27, 2024 (Ramon Eshkar) and August 29,
      2024 (Yaron Shohat). I have yet to have the opportunity to review these transcripts and incorporate any relevant
      information into my analysis.

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      Generally Accepted Auditing Standards (“GAAS”) or with attest standards established by the
      AICPA.

11.   My firm is being compensated at a rate of $795 per hour for my time in this matter, regardless of
      the outcome of this litigation.

      III.     SUMMARY OF OPINIONS
12.   Assuming Defendants are found liable, it is my opinion that the Plaintiffs’ expenditure of
      resources for their response totals                    and a reasonable estimation of Defendants’ profits
      earned in connection with the targeting of 1,500 devices through Defendants’ Exploit ranges from




                                   Table 1: Summary of Plaintiffs’ Claimed Damages and
                                              Available Equitable Recoveries6
                          Category                                                  Amount
                          Plaintiffs’ Response Expenses
                          Defendants’ Profits Subject to Disgorgement




13.   Plaintiffs’ response costs reflect labor expenditures related to internal efforts to identify, evaluate
      and remediate Defendants’ improper use of WhatsApp servers and targeting of select WhatsApp
      users.7 The estimate for Plaintiffs’ response expense is conservative, as the calculations only
      consider the low-end of employee estimates, exclude certain employees who worked on the
      response for whom I do not have estimated hours, and while employees expressed that they worked




      6
        EXHIBIT 1.1; EXHIBIT 1.2. I reserve the right to supplement or amend this report to account for damages to which
      Plaintiffs assert they are entitled for Defendants’ use of Plaintiffs’ computers beyond the 1,500 targeted devices
      discussed in this report. At this time, it is my understanding Defendants have provided insufficient information from
      which to calculate profits subject to disgorgement that are attributable to Defendants’ use of Plaintiffs’ computers
      beyond the 1,500 targeted devises discussed in this report. I understand Plaintiffs reserve any and all rights to seek
      damages relating to Defendants’ use of their servers, including the period during, before, and after 2019.
      7
        This report does not calculate or express an opinion on litigation or other legal costs to which Plaintiffs may be
      entitled and which Plaintiffs may seek to recover from Defendants. I am informed that Plaintiffs do not waive any
      rights with regard to seeking such costs or others from Defendants.

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       security patches to stop NSO.95 On May 13, 2019, Plaintiffs publicly announced their discovery
       and remediation of the exploit.96

47.    As a result of Defendants’ alleged conduct, Plaintiffs assert the following causes of action against
       Defendants:97

               Violation of the Computer Fraud and Abuse Act (18 U.S.C. §1030);

               Violation of the California Comprehensive Computer Data Access and Fraud Act
                (California Penal Code §502); and

               Breach of Contract in connection with WhatsApp terms.

      VIII.     QUANTIFICATION OF PLAINTIFFS’ CLAIMED DAMAGES AND AVAILABLE
                REMEDIES
48.    I understand that Plaintiffs seek to recover damages in the form of their actual losses (i.e.,
       compensatory damages) and disgorgement of Defendants’ ill-gotten gains. In this instance, the ill-
       gotten gains reflect the profits that Defendants derived from their alleged conduct. I offer no
       opinion on whether either remedy is available on Plaintiffs’ causes of action, which I understand
       is a legal question. I have only been asked to calculate Plaintiffs’ actual losses and Defendants’ ill-
       gotten gains.

49.    As the determination of Plaintiffs’ actual losses considers labor cost expenditures, and Defendants’
       profits reflect those earned from the licensing of NSO’s spyware, it is my opinion that these two
       categories are not duplicative of one another, and therefore, may be additive.

50.    Accordingly, I quantify Plaintiffs’ actual damages in the form of the expenditure of resources to
       respond to and remediate Defendants’ conduct described in the Complaint and Defendants’ profits
       derived from targeting WhatsApp.



       95
          See e.g., WA-NSO-00018457-463.
       96
          WhatsApp Reveals Major Security Flaw That Could Let Hackers Access Phones, CBS News (May 14, 2019),
       https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-access-
       phones/ (accessed February 2024).
       97
          Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. Plaintiffs originally alleged that Defendants
       wrongfully trespassed on Plaintiffs’ property, in violation of California law. The Court subsequently dismissed
       Plaintiffs’ fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to
       Dismiss and Denying Motion to Stay Discover (Dkt. No.111).

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              A. PLAINTIFFS’ EXPENDITURE OF RESOURCES FOR RESPONSE

51.   I understand that on or around April 23, 2019, Plaintiffs began logging activity on servers in
      connection with a security review.98 On May 2, 2019, one of WhatsApp’s engineers discovered in
      that logging a malformed and potentially malicious message.99 Over the following days,
      WhatsApp and Meta engineers and others investigated the source of the malicious message and its
      impact on Plaintiffs’ systems.100 Between May 10, 2019 and May 13, 2019, Plaintiffs applied
      software patches to their relay servers and signaling servers and published a security patch for
      users’ WhatsApp client applications to successful resolve the exploit.101 On May 13, 2019,
      Plaintiffs publicly announced their discovery and remediation of the exploit.102 I understand that
      Plaintiffs continued to perform ongoing work related to the exploit after the security patch was
      implemented on May 13, 2019.103

52.   I understand that Plaintiffs’ employees investigated Defendants’ Exploit, determined its impact on
      Plaintiffs’ systems, developed and implemented the security patches to resolve the exploit, and
      performed ongoing work to fully understand the source of the attack, the methods used and full
      nature of the vulnerability, and the impact on WhatsApp users.104 As such, the cost incurred by
      Plaintiffs response to the exploit includes the labor cost associated with certain of Plaintiffs’
      employees involved in the investigation, remediation, and ongoing efforts surrounding
      Defendants’ alleged conduct, which occurred beginning on or around April 23, 2019, and
      continued through the latter part of 2019.

53.   In the following sections, I describe and quantify select labor hours and associated costs for this
      work.




      98
         See e.g., WA-NSO-00018457-463.
      99
         See WA-NSO-00017583-604 at 593. See also WA-NSO-00166464.
      100
          See WA-NSO-00017583-604 at 593-601. See also WA-NSO-00164559-566.
      101
          See WA-NSO-00017583-604 at 601-603.
      102
          https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-
      access-phones/ (accessed February 2024).
      103
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00164559-566.
      104
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00018457-463.

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            1. Plaintiffs’ Employee Labor

54.   To determine Plaintiffs’ labor costs incurred in connection with investigating Defendants’ Exploit,
      determining its impact on Plaintiffs’ systems, developing and implementing the security patch to
      resolve it, and any associated ongoing work after implementing the security patch, I relied on
      information from discussions with the following individuals, who were involved with these efforts:

               Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                Team at Meta;105

               Michael Scott, Threat Investigator within the Espionage Team at Meta;

               Drew Robinson, Security Engineer at Meta;

               Aashin Guatam, Director of Product Management at WhatsApp;

               Otto Ebeling, former Security Engineer at Meta (UK);

               Jesus Barcons Palau, Software Engineer at Meta;

               Claudiu Gheorghe, former Software Engineering Manager at Meta; and

               Yuan Yuan Wang, Software Engineering Manager at Meta.

55.   My discussions with each of these individuals include an overview of each of their then-in-effect
      positions and responsibilities, a description of the work they performed in connection with
      Defendants’ Exploit when they performed this work, and an estimation of the amount of time spent
      in connection with this work. I describe the information represented to me by these individuals in
      more detail in the following sections.

                       a. Cortney Padua106

56.   Cortney Padua is currently a Security Engineer on the Cross-Meta Security Detection and
      Response Team at Meta.107 At the time of Defendants’ Exploit, Ms. Padua was a Security Engineer
      on the Computer Emergency Response Team at Meta.




      105
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.
      106
          Discussion with Cortney Padua; Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 49-52, 60-61.
      107
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.

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57.   Ms. Padua described her role in the process as including:108

               General coordination and support of the response team and strategizing remediation steps
                and timelines.109

               Reviewing WhatsApp logs to gather evidence of Defendants’ Exploit and determine
                population of targeted users.110

               Formatting data contained in these WhatsApp logs for further review and analysis by
                internal data teams.111

               Ongoing review of WhatsApp logs to monitor for potential ongoing exploitation of
                WhatsApp servers.112

               Assisting with eDiscovery preservation of WhatsApp logs obtained during the
                investigation and remediation.113

               Supporting reporting efforts, including drafting summaries and presentations of the subject
                incident.

58.   Ms. Padua estimates that she worked approximately the following number of hours during the
      noted periods on these tasks:

               May 2 through May 7, 2019 - 24 hours.

               May 8 through May 16, 2019 - 36 hours.

               May 20 through May 28, 2019 - 24 hours.

               Mid-June - 12 hours.

59.   Based on my discussion with Ms. Padua, she estimates that she worked a total of 96 hours in
      relation to Defendants’ Exploit. Using Ms. Padua’s estimates, 44 hours are allocated to the period
      May 2 through May 13,114 and 52 hours are allocated to the period after May 13.115




      108
          Discussion with Cortney Padua.
      109
          See also Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 60-61.
      110
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      111
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      112
          See also Deposition of Cortney Padua, August 20, 2024, p. 105.
      113
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52.
      114
          60 hours during the 11-workday period May 2 through May 16 = 5.5 hours per workday x 8 workdays between
      May 2 and May 13.
      115
          96 total hours less 44 hours between May 2 and May 13.

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                       b. Michael Scott116

60.   Michael Scott is currently a Threat Investigator on the Espionage Team at Meta, which was also
      his title at the time of Defendants’ Exploit.

61.   Mr. Scott described his role as including:

               Analyzing data to assist in understanding the exploit and determining how it was
                conducted.

               Reviewing and analyzing WhatsApp logs to obtain information such as IP addresses and
                phone numbers that could help identify targeted WhatsApp users. The identification of
                targeted users also considered research of publicly available information and other profile
                information maintained by Meta (e.g., Facebook and Instagram profile information).

               Efforts related to determining the source of the exploit, including cross referencing current
                information from WhatsApp logs (e.g., IP addresses, domains, and phone numbers) with
                previously identified information for suspected “test accounts” used by attackers prior to
                the exploit, which included suspected accounts associated with NSO. Identifying the source
                of the exploit and related accounts to assist in disabling accounts and preventing those
                accounts from accessing WhatsApp.

               Attempting to map attackers with victims, including the determination of countries of
                origin for attacker accounts.

62.   Mr. Scott represented that in relation to Defendants’ Exploit, he spent nearly all his working time
      on these efforts over a 2 to 3-month period beginning in or around April/May 2019. Mr. Scott
      further stated that ongoing work continued for “months and months,” but did not provide an
      estimate of the portion of his time spent on these ongoing efforts. Using the low end of Mr. Scott’s
      estimate (i.e., 2 months), 64 hours are allocated to the period May 2 through May 13,117 and 256
      hours are allocated to the period after May 13118 in relation to Defendants’ Exploit.

                       c. Drew Robinson119

63.   Drew Robinson is currently a Security Engineer at Meta. At the time of Defendants’ Exploit, Mr.
      Robinson was a Security Investigator at Meta.


      116
          Discussion with Michael Scott.
      117
          8 hours per workday x 8 workdays between May 2 and May 13.
      118
          320 hours over a 2-month period (160 work hours in a month [40 hours per week x 4 weeks] x 2 months) less 64
      hours between May 2 and May 13.
      119
          Discussion with Drew Robinson.

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64.   Mr. Robinson described his role as including:

                Serving as the “on call” for malware analysis and working with WhatsApp engineers to
                 immediately analyze WhatsApp logs to evaluate the “payload” used to deliver the malware
                 to victims.

                Performing various analyses of WhatsApp logs and server information to extract the
                 payloads that had been deployed to help identify the source of the payload (i.e., the
                 orchestrator of the attack).

                Assisting with identification of targeted WhatsApp users and map them back to the
                 malware users. This included analyzing country codes associated with targeted accounts
                 and the nature of the accounts (based in part on publicly available information and
                 Facebook and Instagram profile information).

                Assisting WhatsApp engineers in developing and deploying the security patch.

                Ongoing monitoring for future attacks/exploits and further analysis of ways that NSO was
                 targeting Plaintiffs’ services.

                Continued assistance with victim identification.

                Supporting Plaintiffs’ legal department and responding to requests for information.

65.   Mr. Robinson represented that he initially worked full time on the exploit for 3 weeks up to the
      deployment of the security patch, which he conservatively estimated to approximate 120 hours.
      Mr. Robinson estimated that he worked another 150-200 hours after the security patch was
      implemented. Using Mr. Robinson’s estimates, 64 hours are allocated to the period May 2 through
      May 13,120 and 150 hours are allocated to the period after May 13 in relation to Defendants’
      Exploit.

                         d. Aashin Guatam121

66.   Aashin Guatam is currently a Director of Product Management at WhatsApp. At the time of
      Defendants’ Exploit, Mr. Guatam was a Director of Customer Operations at WhatsApp.

67.   Mr. Guatam described his role as including:




      120
            8 hours per workday x 8 workdays between May 2 and May 13.
      121
            Discussion with Aashin Guatam.

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                Overall project management of the plan implemented by Plaintiffs to resolve Defendants’
                 Exploit, including post-fix identification of and communication with targeted users,
                 external communication strategy, and legal pursuits.

                Working with and guiding technical teams, operations teams, legal teams, and others to
                 understand the attack and identify the victims of the exploit. This included identifying the
                 targeted accounts and mapping them to the real-life users. The accounts were mapped to
                 real-life users using information from WhatsApp accounts, associated social media
                 accounts, and other publicly available information.

                Developing a victim outreach strategy and working with technical teams, operations teams,
                 legal teams, and others to notify the identified victims of the exploit.

68.   Mr. Guatam represented to me that he spent, on average, 50% of his working hours from May/June
      to November 2019 working on this matter. As such, I have considered the low end of Mr. Guatam’s
      estimate (i.e., beginning in June) that he worked 480 hours (6 months [June through November]
      multiplied by 160 working hours per month multiplied by 50%). Using Mr. Guatam’s estimate, all
      480 hours are allocated to the period after May 13 in relation to Defendants’ Exploit.

                          e. Otto Ebeling122

69.   Otto Ebeling currently owns a cyber security consulting company that is sometimes contracted by
      Plaintiffs. At the time of responding to Defendants’ Exploit, Mr. Ebeling was a Security Engineer
      at Meta, based in the United Kingdom.

70.   Mr. Ebeling described his role as including:

                Investigating initial reports relayed to him from WhatsApp engineers to ascertain if a
                 vulnerability existed. This included determining whether the suspicious activity was
                 benign or malicious.

                Understanding Defendants’ Exploit and how it worked.

                Determining how to respond to and prevent Defendants’ Exploit. Mr. Ebeling consulted
                 with WhatsApp engineers that ultimately created and implemented the security patch.

                Monitoring applicable information to confirm the security patches were working as
                 intended after they were implemented by Plaintiffs’ employees.




      122
            Discussion with Otto Ebeling.

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               Determining if Defendants were exploiting any other unknown vulnerabilities. This
                included reviewing and analyzing certain software code.

71.   Mr. Ebeling represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours for 3 weeks on this project. Mr. Ebeling also informed me
      that he spent one-third (33%) to one-half (50%) of his working time for the second half of 2019
      working on ongoing matters associated with Defendants’ Exploit. Using Mr. Ebeling’s estimates,
      64 hours are allocated to the period May 2 through May 13,123 and 320 hours124 are allocated to
      the period after May 13 in relation to Defendants’ Exploit.

                        f. Jesus Barcons Palau125

72.   Jesus Barcons Palau is currently a Software Engineer at Meta, which was also his title at the time
      of Defendants’ Exploit in May 2019.

73.   Mr. Palau described his role as including:

               Consulting with security professionals to investigate abnormal “stanzas”126 in data passing
                through WhatsApp servers. This included identifying and investigating stanzas that did not
                conform with specifications established by WhatsApp. After certain abnormal stanzas were
                identified, Mr. Palau worked to implement processes to detect other non-conforming and
                potentially malicious stanzas in data.

               Implementing code to detect malicious stanzas not adhering to WhatsApp specifications.

               Implementing measures to assure that invalid stanzas were blocked from WhatsApp
                servers.

74.   Mr. Palau informed me that during the initial response efforts, he spent all his working time, and
      additional overtime hours, on this project. Mr. Palau represented to me that he spent more than
      100% of his working hours from April 29 through May 10 on response efforts. Using Mr. Palau’s
      estimates, 56 hours are allocated to the period May 2 through May 10127 in relation to Defendants’
      Exploit.



      123
          8 hours per workday x 8 workdays between May 2 and May 13.
      124
          6 months multiplied by 160 working hours in a month multiplied by 1/3 of his working time.
      125
          Discussion with Jesus Palau.
      126
          Stanza is “a general term in WhatsApp for metadata -- for a type of metadata that is sent from a client to a
      server.” Claudiu Gheorghe Deposition, 24:19-24.
      127
          8 hours per workday x 7 workdays between May 2 and May 10.

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                       g. Claudiu Gheorghe128

75.   Claudiu Gheorghe was a Software Engineering Manager at Meta at the time of Defendants’ Exploit
      in May 2019.

76.   Mr. Gheorghe described his role as including:

               Coordinating the investigation and remediation of Defendants’ Exploit. Mr. Gheorghe
                orchestrated efforts among engineering teams, security teams, and legal teams.

               Supervising Meta engineers to execute the investigation and remediation of Defendants’
                Exploit. This included effectively allocating staffing resources to execute this project. Mr.
                Gheorghe performed a managerial role in connection with leading coordination for the
                investigation and remediation of Defendants’ Exploit.

               Identifying victims of Defendants’ Exploit.

               Assisting in drafting a white paper regarding Defendants’ Exploit.

77.   Mr. Gheorghe represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      After the patch was implemented on May 13, 2019, Mr. Gheorghe informed me that he spent 50%
      of his time on this project for two more weeks. Using Mr. Gheorghe’s estimates, 64 hours are
      allocated to the period May 2 through May 13,129 and 40 hours are allocated to the period after
      May 13130 in relation to Defendants’ Exploit.

                       h. YuanYuan Wang131

78.   YuanYuan Wang is currently a Software Engineering Manager at Meta, which was also his title at
      the time of Defendants’ Exploit in May 2019.

79.   Mr. Wang described his role as including:

               Confirming that the exploit was occurring. This included identifying abnormal patterns
                through his knowledge of the WhatsApp architecture.




      128
          Discussion with Claudiu Gheorghe.
      129
          8 hours per workday x 8 workdays between May 2 and May 13.
      130
          80 hours over a 2-week period (2 weeks x 40 hours per week) x 50%.
      131
          Discussion with YuanYuan Wang.

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               Organizing and providing applicable information regarding Defendants’ Exploit to security
                teams at Meta.

               Consulting with security teams at Meta to identify the software code permitting
                Defendants’ Exploit.

               Understanding the software code relevant to Defendants’ Exploit.

               Consulting with security teams at Meta to improve and secure the applicable software code.
                This fixed the software code permitting Defendants’ Exploit.

80.   Mr. Wang represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      Using Mr. Wang’s estimate, 64 hours are allocated to the period May 2 through May 13132in
      relation to Defendants’ Exploit.

                       i. Other Employees Identified by Claudiu Gheorghe133

81.   In addition to the discussions I had with the above-noted individuals, Claudiu Gheorghe identified
      14 other Meta professionals that participated in the investigation and response efforts.134 As
      discussed, Mr. Gheorghe was a Software Engineering Manager at Meta who performed a
      managerial role leading coordination across multiple teams in connection with addressing
      Defendants’ Exploit in May 2019.

82.   Mr. Gheorghe provided descriptions of roles and estimates of hours worked for each of the Meta
      employees he identified as participating in the investigation and response efforts from May 2, 2019
      through May 13, 2019. This is reflected in EXHIBIT 2.2 to my report.

            2. Plaintiffs’ Employee Labor Cost

83.   After identifying the employees involved in responding to Defendants’ Exploit, and their
      respective estimated labor hours, I determined the cost of this labor. To determine the cost of labor
      of each applicable employee, I multiplied each applicable employee’s burdened labor rate by the
      number of hours worked on responding to Defendants’ Exploit.




      132
          8 hours per workday x 8 workdays between May 2 and May 13.
      133
          Discussion with Claudiu Gheorghe.
      134
          EXHIBIT 2.2.

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84.   The calculation of an employee’s burdened labor rate not only considers the employee’s salary,
      but also considers other expenditures paid by an employer to, or on behalf of, an employee. These
      additional expenditures can be paid directly to an employee (e.g., performance bonus or retirement
      contributions) or paid on behalf of an employee (e.g., the employer’s share of healthcare insurance
      premiums or payroll taxes). In addition to base salary, the inclusion of an employer’s additional
      expenditures to, or on behalf of, an employee reflects the employer’s total economic cost incurred
      in connection with the subject employee’s time.

85.   To calculate each employee’s burdened labor rate, I relied on data provided by Plaintiffs detailing
      payroll information for specific employees which included wages, employee and employer payroll
      taxes, and certain employer-paid benefits. I also obtained employee bonus information and the
      amount of employer-paid health benefits. For purposes of determining a compensation rate for
      individual employees, I considered the following costs incurred by Plaintiffs:

            Salary

            Performance bonus

            Employer payroll taxes

            Employer portion of health benefits

            Restricted Stock Unit (“RSU”) grants

86.   As detailed in EXHIBIT 3.1, I considered the above amounts and determined an hourly-equivalent
      compensation rate for each of the individuals discussed in the preceding section. I determined
      Plaintiffs’ relevant expenditures by multiplying each applicable employee’s hours spent on
      resolving Defendants’ Exploit and for related ongoing work by their burdened labor rate. As
      summarized in the following table, Plaintiffs’ expenditures to respond to Defendants’ Exploit total
               .




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                        Table 3: Plaintiffs’ Labor Expenses to Respond to Defendants’ Exploit 135
                                                                    Hours
            Employee Name                 2019 Title               Worked       Hourly Rate       Cost of Labor
            Cortney Padua          Security Engineer                          96
            Michael Scott          Threat Investigator                       320
            Drew Robinson          Security Investigator                     214
            Aashin Guatam          Director of Customer Ops.                 480
            Otto Ebeling           Security Engineer                         384
            Jesus Palau            Software Engineer                          56
            Claudiu Gheorghe       Software Engineering Manager              104
            YuanYuan Wang          Software Engineering Manager               64
                                                                                    Cost of Labor
                                 Cost of Labor (Additional Employees Identified by Mr. Gheorghe)
                                                                             Total Cost of Labor

87.   The estimate included in Table 3 is conservative, as the calculations only consider the low-end of
      employee estimates, exclude certain employees who worked on the response for whom I do not
      have estimated hours, and while employees expressed that they worked extended hours and
      weekends, I do not include such extended hours and weekends in my calculations.

88.   While these individuals were salaried employees and were not paid on an hourly basis, the hourly
      equivalent labor rate provides a means to determine the cost of their respective time to Plaintiffs
      with respect to responding to Defendants’ Exploit. While some of these individuals perform
      security-related tasks in the ordinary course of their employment by Plaintiffs, they would have
      directed this time to other efforts in the absence of Defendants’ alleged conduct. Accordingly,
      these efforts and associated cost are reflective of an “opportunity cost” to Plaintiffs. Further, as
      this was a required effort in light of Defendants’ Exploit, in the absence of these employees,
      Plaintiffs would have needed to expend resources to obtain these types of services from third
      parties.

                 B. DEFENDANTS’ ILL-GOTTEN GAINS SUBJECT TO DISGORGEMENT

89.   In this instance, Defendants’ ill-gotten gains subject to disgorgement reflect the profit that
      Defendants derived from their unauthorized access to Plaintiffs’ systems, including the use of
      Defendants’ Exploit. I understand that Plaintiffs allege that Defendants’ Exploit for the WhatsApp
      Service was


      135
            EXHIBITS 1.1, 2.1, AND 2.2.

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                                                              , and that both Defendants’ development and sale
      of that exploit violated its Terms of Service and federal and state law. Accordingly, I estimate
      Defendants’ ill-gotten gains resulting from the development and licensing of Pegasus
                                      , and any other spyware targeting Plaintiffs’ systems based on the
      information available to date.

90.   As discussed in further detail, Plaintiffs assert that Defendants have not produced all relevant
      information, and depositions of Defendants’ witnesses have only recently occurred136 or are
      scheduled to occur after the date of this report. Accordingly, I reserve the right to update my
      analysis based on such information.

91.   Specifically, I understand that Plaintiffs requested from Defendants the information to evaluate
      Defendants’ ill-gotten gains from targeting Plaintiffs’ systems. As of the date of this report, I
      understand that Defendants have not produced certain financial information,




92.   Given the absence of certain information requested from Defendants, my assessment of
      Defendants’ profits recognized in conjunction with the alleged conduct relies on the documents
      produced to date and reasonable assumptions regarding certain information contained in those
      documents. Additional documents produced by Defendants (or other parties) and future deposition
      testimony may impact my analysis, assumptions, and conclusions.

93.   The following sections address my determination of Defendants’ ill-gotten gains subject to
      disgorgement based on the information reasonably available to me to date.

            1. Total Reported Revenue from the Sale and License of the Pegasus Product

94.   As an initial matter, I consider the reported revenues for Pegasus contained in certain financial
      information produced to date.




      136
         Given the timing of Defendants’ depositions, I have not fully evaluated the testimony or its impact on my
      analysis.

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128.   The procedures performed were limited to those described herein based on the documents provided
       to date and other information obtained. Information obtained after the date of this report, or within
       a short period of time prior to its issuance, may affect this analysis and this effect may be material.
       If requested, I will update my analysis.

129.   My procedures were performed solely with respect to the above referenced litigation. This report
       is not to be reproduced, distributed, disclosed, or used for any other purpose.

       STOUT




       _____________________
       Dana M. Trexler, CPA/CFF                                                   August 30, 2024




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              EXHIBIT 14
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              EXHIBIT 15
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              EXHIBIT 22
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  WhatsApp Terms Of Service


  WhatsApp Inc. ("WhatsApp," "our," "we," or "us") provides messaging, Internet calling, and other services to
  users around the world. Please read our Terms of Service so you understand what's up with your use of
  WhatsApp. You agree to our Terms of Service ("Terms") by installing, accessing, or using our apps, services,
  features, software, or website (together, "Services").

  NO ACCESS TO EMERGENCY SERVICES: There are important differences between WhatsApp and your
  mobile and fixed-line telephone and SMS services. Our Services do not provide access to emergency
  services or emergency services providers, including the police, fire departments, or hospitals, or otherwise
  connect to public safety answering points. You should ensure you can contact your relevant emergency
  services providers through a mobile, fixed-line telephone, or other service.

  IF YOU ARE A WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, OUR TERMS CONTAIN A
  BINDING ARBITRATION PROVISION, WHICH STATES THAT, EXCEP T IF YOU OP T OUT AND EXCEPT FOR
  CERTAIN TYPES OF DISPUTES, WHATSAPP AND YOU AGREE TO RESOLVE ALL DISPUTES THROUGH
  BINDING INDIVIDUAL ARBITRATION, WHICH MEANS THAT YOU WAIVE ANY RIGHT TO HAVE THOSE
  DISPUTES DECIDED BY A JUDGE OR JURY, AND THAT YOU WAIVE YOUR RIGHT TO PARTICIPATE IN CLASS
  ACTIONS, CLASS ARBITRATIONS, OR REPRESENTATIVE ACTIONS. PLEASE READ THE "SPECIAL
  ARBITRATION PROVISION FOR UNITED STATES OR C ANADA USERS" SECTION BELOW TO LEARN MORE.




  Registration. You must register for our Services using accurate data, provide your current mobile phone
  number, and, if you change it, update this mobile phone number using our in-app change number feature.
  You agree to receive text messages and phone calls (from us or our third-party providers) with codes to
  register for our Services.

  Address Book. You provide us the phone numbers of WhatsApp users and your other contacts in your
  mobile phone address book on a regular basis. You confirm you are authorized to provide us such numbers
  to allow us to provide our Services.

  Age. You must be at least 13 years old to use our Services (or such greater age required in your country for
  you to be authorized to use our Services without parental approval). In addition to being of the minimum
  required age to use our Services under applicable law, if you are not old enough to have authority to agree to
  our Terms in your country, your parent or guardian must agree to our Terms on your behalf.

  Devices and Software. You must provide certain devices, software, and data connections to use our Services,
  which we otherwise do not supply. For as long as you use our Services, you consent to downloading and
  installing updates to our Services, including automatically.

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  Fees and Taxes. You are responsible for all carrier data plan and other fees and taxes associated with your use
  of our Services. We may charge you for our Services, including applicable taxes. We may refuse or cancel
  orders. We do not provide refunds for our Services, except as required by law.




  WhatsApp cares about your privacy. WhatsApp's                          describes our information (including message)
  practices, including the types of information we receive and collect from you and how we use and share this
  information. You agree to our data practices, including the collection, use, processing, and sharing of your
  information as described in our Privacy Policy, as well as the transfer and processing of your information to
  the United States and other countries globally where we have or use facilities, service providers, or partners,
  regardless of where you use our Services. You acknowledge that the laws, regulations, and standards of the
  country in which your information is stored or processed may be different from those of your own country.




  Our Terms and Policies. You must use our Services according to our Terms and posted policies. If we disable
  your account for a violation of our Terms, you will not create another account without our permission.

  legal and Acceptable Use. You must access and use our Services only for legal, authorized, and acceptable
  purposes. You will not use (or assist others in using) our Services in ways that: (a) violate, misappropriate, or
  infringe the rights of WhatsApp, our users, or others, including privacy, publicity, intellectual property, or
  other proprietary rights; (b) are illegal, obscene, defamatory, threatening, intimidating, harassing, hateful,
  racially, or ethnically offensive, or instigate or encourage conduct that would be illegal, or otherwise
  inappropriate, including promoting violent crimes; (c) involve publishing falsehoods, misrepresentations, or
  misleading statements; (d) impersonate someone; (e) involve sending illegal or impermissible
  communications such as bulk messaging, auto-messaging, auto-dialing, and the like; or (f) involve any non­
  personal use of our Services unless otherwise authorized by us.

  Harm to WhatsApp or Our Users. You must not (or assist others to) access, use, copy, adapt, modify, prepare
  derivative works based upon, distribute, license, sublicense, transfer, display, perform, or otherwise exploit
  our Services in impermissible or unauthorized manners, or in ways that burden, impair, or harm us, our
  Services, systems, our users, or others, including that you must not directly or through automated means: (a)
  reverse engineer, alter, modify, create derivative works from, decompile, or extract code from our Services; (b)
  send, store, or transmit viruses or other harmful computer code through or onto our Services; {c) gain or
  attempt to gain unauthorized access to our Services or systems; (d) interfere with or disrupt the integrity or
  performance of our Services; (e) create accounts for our Services through unauthorized or automated means;
  (f) collect the information of or about our users in any impermissible or unauthorized manner; (g) sell, resell,
  rent, or charge for our Services; or (h) distribute or make our Services available over a network where they
  could be used by multiple devices at the same time.

  Keeping Your Account Secure. You are responsible for keeping your device and your WhatsApp account safe
  and secure, and you must notify us promptly of any unauthorized use or security breach of your account or
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  our Services.




  Our Services may allow you to access, use, or interact with third-party websites, apps, content, and other
  products and services. For example, you may choose to use third-party data backup services (such as iCloud
  or Google Drive) that are integrated with our Services or interact with a share button on a third party's
  website that enables you to send information to your WhatsApp contacts. Please note that when you use
  third-party services, their own terms and privacy policies will govern your use of those services.




  Your Rights. WhatsApp does not claim ownership of the information that you submit for your WhatsApp
  account or through our Services. You must have the necessary rights to such information that you submit for
  your WhatsApp account or through our Services and the right to grant the rights and licenses in our Terms.

  WhatsApp's Rights. We own all copyrights, trademarks, domains, logos, trade dress, trade secrets, patents,
  and other intellectual property rights associated with our Services. You may not use our copyrights,
  trademarks, domains, logos, trade dress, patents, and other intellectual property rights unless you have our
  express permission and except in accordance with our >                       r .. You may use the
  trademarks\/                                              of our affiliated companies only with their permission,
  including as authorized in any published brand guidelines.

  Your License to WhatsApp. In order to operate and provide our Services, you grant WhatsApp a worldwide,
  non-exclusive, royalty-free, sublicensable, and transferable license to use, reproduce, distribute, create
  derivative works of, display, and perform the information (including the content) that you upload, submit,
  store, send, or receive on or through our Services. The rights you grant in this license are for the limited
  purpose of operating and providing our Services (such as to allow us to display your profile picture and
  status message, transmit your messages, store your undelivered messages on our servers for up to 30 days as
  we try to deliver them, and otherwise as described in our Privacy Policy).

  WhatsApp's license to You. We grant you a limited, revocable, non-exclusive, non-sublicensable, and non­
  transferable license to use our Services, subject to and in accordance with our Terms. This license is for the
  sole purpose of enabling you to use our Services, in the manner permitted by our Terms. No licenses or rights
  are granted to you by implication or otherwise, except for the licenses and rights expressly granted to you.




  To report claims of third-party copyright, trademark, or other intellectual property infringement, please visit
  our d                            . We may terminate your WhatsApp account if you repeatedly infringe the

  intellectual property rights of others.
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  YOU USE OUR SERVICES AT YOUR OWN RISK AND SUBJECT TO THE FOLLOWING DISCLAIMERS. WE ARE
  PROVIDING OUR SERVICES ON AN "AS IS" BASIS WITHOUT ANY EXPRESS OR IMPLIED WARRANTIES,
  INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR
  PURPOSE, TITLE, NON-INFRINGEMENT, AND FREEDOM FROM COMPUTER VIRUS OR OTHER HARMFUL
  CODE. WE DO NOT WARRANT THAT ANY INFORMATION PROVIDED BY US IS ACCURATE, COMPLETE, OR
  USEFUL, THAT OUR SERVICES WILL BE OPERATIONAL, ERROR FREE, SECURE, OR SAFE, OR THAT OUR
  SERVICES WILL FUNCTION WITHOUT DISRUPTIONS, DELAYS, OR IMPERFECTIONS. WE DO NOT CONTROL,
  AND ARE NOT RESPONSIBLE FOR, CONTROLLING HOW OR WHEN OUR USERS USE OUR SERVICES OR THE
  FEATURES, SERVICES, AND INTERFACES OUR SERVICES PROVIDE. WE ARE NOT RESPONSIBLE FOR AND ARE
  NOT OBLIGATED TO CONTROL THE ACTIONS OR INFORMATION (INCLUDING CONTENT) OF OUR USERS OR
  OTHER THIRD PARTIES. YOU RELEASE US, OUR SUBSIDIARIES, AFFILIATES, AND OUR AND THEIR DIRECTORS,
  OFFICERS, EMPLOYEES, PARTNERS, AND AGENTS (TOGETHER, THE "WHATSAPP PARTIES") FROM ANY CLAIM,
  COMPLAINT, CAUSE OF ACTION, CONTROVERSY, OR DISPUTE (TOGETHER, "CLAIM") AND DAMAGES,
  KNOWN AND UNKNOWN, RELATING TO, ARISING OUT OF, OR IN ANY WAY CONNECTED WITH ANY SUCH
  CLAIM YOU HAVE AGAINST ANY THIRD PARTIES. YOU WAIVE ANY RIGHTS YOU MAY HAVE UNDER
  CALIFORNIA CIVIL CODE §1542, OR ANY OTHER SIMILAR APPLICABLE STATUTE OR LAW OF ANY OTHER
  JURISDICTION, WHICH SAYS THAT: A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
  CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
  RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
  WITH THE DEBTOR.




  THE WHATSAPP PARTIES WILL NOT BE LIABLE TO YOU FOR ANY LOST PROFITS OR CONSEQUENTIAL,
  SPECIAL, PUNITIVE, INDIRECT, OR INCIDENTAL DAMAGES RELATING TO, ARISING OUT OF, OR IN ANY WAY
  IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES, EVEN IF THE WHATSAPP PARTIES HAVE BEEN
  ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. OUR AGGREGATE LIABILITY RELATING TO, ARISING OUT
  OF, OR IN ANY WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES WILL NOT EXCEED THE
  GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE PAID US IN THE PAST TWELVE
  MONTHS. THE FOREGOING DISCLAIMER OF CERTAIN DAMAGES AND LIMITATION OF LIABILITY WILL APPLY
  TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW. THE LAWS OF SOME STATES OR
  JURISDICTIONS MAY NOT ALLOW THE EXCLUSION OR LIMITATION OF CERTAIN DAMAGES, SO SOME OR ALL
  OF THE EXCLUSIONS AND LIMITATIONS SET FORTH ABOVE MAY NOT APPLY TO YOU. NOTWITHSTANDING
  ANYTHING TO THE CONTRARY IN OUR TERMS, IN SUCH CASES, THE LIABILITY OF THE WHATSAPP PARTIES
  WILL BE LIMITED TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW.




  You agree to defend, indemnify, and hold harmless the WhatsApp Parties from and against all liabilities,
  damages, losses, and expenses of any kind (including reasonable legal fees and costs) relating to, arising out

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  of, or in any way in connection with any of the following: (a) your access to or use of our Services, including
  information provided in connection therewith; (b) your breach or alleged breach of our Terms; or (c) any
  misrepresentation made by you. You will cooperate as fully as required by us in the defense or settlement of
  any Claim.




  Forum and Venue. If you are a WhatsApp user located in the United States or Canada, the "Special
  Arbitration Provision for United States or Canada Users" section below applies to you. Please also read that
  section carefully and completely. If you are not subject to the "Special Arbitration Provision for United States
  or Canada Users" section below, you agree that you and WhatsApp will resolve any Claim relating to, arising
  out of, or in any way in connection with our Terms, us, or our Services (each, a "Dispute," and together,
  "Disputes") exclusively in the United States District Court for the Northern District of California or a state
  court located in San Mateo County in California, and you agree to submit to the personal jurisdiction of such
  courts for the purpose of litigating all such Disputes. Without prejudice to the foregoing, you agree that, in
  our sole discretion, we may elect to resolve any Dispute we have with you in any competent court in the
  country in which you reside that has jurisdiction over the Dispute.

  Governing law. The laws of the State of California govern our Terms, as well as any Disputes, whether in
  court or arbitration, which might arise between WhatsApp and you, without regard to conflict of law
  prov1s1ons.




  Availability of Our Services. Our Services may be interrupted, including for maintenance, repairs, upgrades,
  or network or equipment failures. We may discontinue some or all of our Services, including certain features
  and the support for certain devices and platforms, at any time. Events beyond our control may affect our
  Services, such as events in nature and other force majeure events.

  Termination. We may modify, suspend, or terminate your access to or use of our Services anytime for any
  reason, such as if you violate the letter or spirit of our Terms or create harm, risk, or possible legal exposure
  for us, our users, or others. T he following provisions will survive any termination of your relationship with
  WhatsApp: "Licenses," "Disclaimers," "Limitation of Liability," "Indemnification," "Dispute Resolution,"
  "Availability and Termination of our Services," "Other," and "Special Arbitration Provision for United States or
  Canada Users."




     • Unless a mutually executed agreement between you and us states otherwise, our Terms make up
        the entire agreement between you and us regarding WhatsApp and our Services, and supersede
        any prior agreements.


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     • We may ask you to agree to additional terms for certain of our Services in the future, which will
        govern to the extent there is a conflict between our Terms and such additional terms.

     • Our Services are not intended for distribution to or use in any country where such distribution or
        use would violate local law or would subject us to any regulations in another country. We reserve
        the right to limit our Services in any country.

     • You will comply with all applicable U.S. and non-U.S. export control and trade sanctions laws
       ("Export Laws"). You will not, directly or indirectly, export, re-export, provide, or otherwise transfer
        our Services: (a) to any individual, entity, or country prohibited by Export Laws; (b) to anyone on
        U.S. or non-U.S. government restricted parties lists; or (c) for any purpose prohibited by Export
        Laws, including nuclear, chemical, or biological weapons, or missile technology applications
        without the required government authorizations. You will not use or download our Services if you
        are located in a restricted country, if you are currently listed on any U.S. or non-U.S. restricted
        parties list, or for any purpose prohibited by Export Laws, and you will not disguise your location
        through IP proxying or other methods.

     • Our Terms are written in English (U.S.). Any translated version is provided solely for your
       convenience. To the extent any translated version of our Terms conflicts with the English version,
        the English version controls.

     • Any amendment to or waiver of our Terms requires our express consent.

     • We may amend or update these Terms. We will provide you notice of amendments to our Terms,
        as appropriate, and update the "Last Modified" date at the top of our Terms. Your continued use of
        our Services confirms your acceptance of our Terms, as amended. If you do not agree to our
        Terms, as amended, you must stop using our Services. Please review our Terms from time to time.

     • All of our rights and obligations under our Terms are freely assignable by us to any of our affiliates
        or in connection with a merger, acquisition, restructuring, or sale of assets, or by operation of law
        or otherwise, and we may transfer your information to any of our affiliates, successor entities, or
        new owner.

     • You will not transfer any of your rights or obligations under our Terms to anyone else without our
        prior written consent.

     • Nothing in our Terms will prevent us from complying with the law.

     • Except as contemplated herein, our Terms do not give any third-party beneficiary rights.

     • If we fail to enforce any of our Terms, it will not be considered a waiver.

     • If any provision of these Terms is deemed unlawful, void, or for any reason unenforceable, then
       that provision shall be deemed severable from our Terms and shall not affect the validity and
        enforceability of the remaining provisions, except as set forth in the "Special Arbitration Provision
        for United States or Canada Users" - "Severability" section below.

     • We reserve all rights not expressly granted by us to you. In certain jurisdictions, you may have
       legal rights as a consumer, and our Terms are not intended to limit such consumer legal rights that
        may not be waived by contract.

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     • We always appreciate your feedback or other suggestions about WhatsApp and our Services, but
       you understand that we may use your feedback or suggestions without any obligation to
        compensate you for them Uust as you have no obligation to offer them).




  PLEASE READ THIS SECTION CAREFULLY BECAUSE IT CONTAINS ADDITIONAL PROVISIONS APPLICABLE
  ONLY TO OUR UNITED STATES AND CANADA USERS. IF YOU ARE A WHATSAPP USER LOCATED IN THE
  UNITED STATES OR CANADA, IT REQUIRES YOU TO SUBMIT TO BINDING INDIVIDUAL ARBITRATION OF
  ALL DISPUTES, EXCEPT FOR THOSE THAT INVOLVE INTELLECTUAL PROPERTY DISPUTES AND EXCEPT
  THOSE THAT CAN BE BROUGHT IN SMALL CLAIMS COURT. THIS MEANS YOU ARE WAIVING YOUR RIGHT
  TO HAVE SUCH DISPUTES RESOLVED IN COURT BY A JUDGE OR JURY. THIS SECTION ALSO LIMITS THE
  TIME YOU HAVE TO START AN ARBITRATION OR, IF PERMISSIBLE, A COURT ACTION. FINALLY, THIS
  SECTION WAIVES YOUR RIGHT TO HAVE YOUR DISPUTE HEARD AND RESOLVED AS A CLASS ACTION,
  CLASS ARBITRATION, OR A REPRESENTATIVE ACTION.

  "Excluded Dispute" means any Dispute relating to the enforcement or infringement of your or our intellectual
  property rights (such as copyrights, trademarks, domains, logos, trade dress, trade secrets, and patents). For
  clarity and notwithstanding the foregoing, those Disputes relating to, arising out of, or in any way in
  connection with your rights of privacy and publicity are not Excluded Disputes.

  Federal Arbitration Act. The United States Federal Arbitration Act governs the interpretation and
  enforcement of this "Special Arbitration Provision for United States or Canada Users" section, including any
  question whether a Dispute between WhatsApp and you is subject to arbitration.

  Agreement to Arbitrate for WhatsApp Users Located in the United States or Canada. For WhatsApp users
  located in the United States or Canada, WhatsApp and you each agree to waive the right to a trial by judge or
  jury for all Disputes, except for the Excluded Disputes. WhatsApp and you agree that all Disputes (except for
  the Excluded Disputes), including those relating to, arising out of, or in any way in connection with your rights
  of privacy and publicity, will be resolved through final and binding arbitration. WhatsApp and you agree not
  to combine a Dispute that is subject to arbitration under our Terms with a Dispute that is not eligible for
  arbitration under our Terms.

  The arbitration will be administered by the American Arbitration Association (AAA) under its Commercial
  Arbitration Rules in effect at the time the arbitration is started, including the Optional Rules for Emergency
  Measures of Protection and the Supplementary Procedures for Consumer-Related Disputes (together, the
  "AAA Rules"). The arbitration will be presided over by a single arbitrator selected in accordance with the AAA
  Rules. The AAA Rules, information regarding initiating a Dispute, and a description of the arbitration process
  are available at\\ < ·      The arbitrator will decide whether a Dispute can be arbitrated. The location of
  the arbitration and the allocation of fees and costs for such arbitration shall be determined in accordance
  with the AAA Rules. Notwithstanding the AAA Rules, we will reimburse you for all the AAA administrative fees
  in Disputes that are subject to the Supplementary Procedures for Consumer-Related Disputes, unless the
  arbitrator determines that a Dispute was filed for purposes of harassment or is patently frivolous.

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  Opt-Out Procedure. You may opt out of this agreement to arbitrate. If you do so, neither we nor you can
  require the other to participate in an arbitration proceeding. To opt out, you must notify us in writing
  postmarked within 30 days of the later of: (i) the date that you first accepted our Terms; and (ii) the date you
  became subject to this arbitration provision. You must use this address to opt-out:

  WhatsApp Inc.
  Arbitration Opt-Out
  1601 Willow Road
  Menlo Park, California 94025
  United States of America

  You must include: (1) your name and residence address; (2) the mobile phone number associated with your
  account; and (3) a clear statement that you want to opt out of our Terms' agreement to arbitrate.

  Small Claims Court As an alternative to arbitration, if permitted by your local "small claims" court's rules, you
  may bring your Dispute in your local "small claims" court, as long as the matter advances on an individual
  (non-class) basis.

  Time Limit to Start Arbitration. We and you agree that for any Dispute (except for the Excluded Disputes) we
  and you must commence an arbitration proceeding within one year after the Dispute first arose; otherwise,
  such Dispute is permanently barred. This means that if we or you do not commence an arbitration within one
  year after the Dispute first arose, then the arbitration will be dismissed because it was started too late.

  No Class Actions, Class Arbitrations, or Representative Actions for Users located in the United States or
  Canada. We and you each agree that if you are a WhatsApp user located in the United States or Canada, each
  of we and you may bring Disputes against the other only on its or your own behalf, and not on behalf of any
  other person or entity, or any class of people. We and you each agree not to participate in a class action, a
  class-wide arbitration, Disputes brought in a private attorney general or representative capacity, or
  consolidated Disputes involving any other person or entity in connection with any Dispute.

  Severability. If the prohibition against class actions and other Disputes brought on behalf of third parties is
  found to be unenforceable for a Dispute, then all of the provisions above under the caption "Special
  Arbitration Provision for United States or Canada Users" will be null and void as to that Dispute.

  Place to File Permitted Court Actions. If you opt out of the agreement to arbitrate, if your Dispute is an
  Excluded Dispute, or if the arbitration agreement is found to be unenforceable, you agree to be subject to
  the "Forum and Venue" provisions in the "Dispute Resolution" section set forth above.


  Accessing WhatsApp's terms ln different languages

  To access our Terms in certain other languages, change the language setting for your WhatsApp session. If
  our Terms are not available in the language you select, we will default to the English version.

  Please review the following documents, which provide additional information about your use of our Services:

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              EXHIBIT 25
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              EXHIBIT 26
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              EXHIBIT 28
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               EXHIBIT 29
              FILED UNDER SEAL
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               EXHIBIT 30
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               EXHIBIT 31
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               EXHIBIT 32
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               EXHIBIT 33
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     ROBINSON, ANDREW on 09/19/2024                                                                   Page 1
                                                                                                    Page 1
·1· · · · · · · UNITED STATES DISTRICT COURT
·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
·3· · · · · · · · · · OAKLAND DIVISION
·4· ·- - - - - - - - - - - - - - - x
·5· ·WHATSAPP INC., a Delaware· · ·:
·6· ·corporation, and FACEBOOK,· · :
·7· ·INC., a Delaware corporation, :
·8· · · · · · ·Plaintiffs,· · · · ·:· CASE NO.
·9· ·v.· · · · · · · · · · · · · · :· 4:19-cv-07123-PJH
10· ·NSO GROUP TECHNOLOGIES LIMITED:
11· ·And Q CYBER TECHNOLOGIES· · · :
12· ·LIMITED,· · · · · · · · · · · :
13· · · · · · ·Defendants.· · · · ·:
14· ·- - - - - - - - - - - - - - - x
15· · · · · HIGHLY CONFIDENTIAL, ATTORNEYS' EYES
16· · · · VIDEOTAPED DEPOSITION OF ANDREW ROBINSON
17· · · · · · · Thursday, September 19, 2024
18· · · · · · · · · · · · 9:36 a.m.
19
20
21· ·JOB NO.:· 44484
22· ·Pages 1 through 389
23· ·Reported By:· CASSANDRA E. ELLIS, CSR-CA #14448,
24· ·CSR-HI #475, CCR-WA #3484, RPR, RMR, RDR, CRR,
25· ·Realtime Systems Administrator #823848
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WhatsApp Inc. vs NSO Group Technologies Limited et al.                               Highly Confidential, Job 3329
ROBINSON, ANDREW on 09/19/2024                                                                    Pages· 286..289
                                                Page 286                                                  Page 287
·1· · ·this exhibit.                                       ·1· ·2019?
·2· · · · · · · · · (Exhibit No. 1517 was marked for       ·2· · · · · ·A.· ·So much of what Cortney did was
·3· · ·identification.)                                    ·3· ·essentially translation of all of the raw logs
·4· · · · · · · · · MR. MARZORATI:· Can I give him that    ·4· ·and information that we were collecting as a
·5· · ·one?                                                ·5· ·part of the investigation, and translating that
·6· · · · · · · · · MR. AKROTIRIANAKIS:· Yeah.             ·6· ·into actual databases that we could more easily
·7· · · · · · · · · MR. MARZORATI:· Okay.                  ·7· ·leverage for investigations, as well as
·8· ·BY MR. CRAIG:                                         ·8· ·preserving the various documents that we used
·9· · · · · · ·Q.· ·All right.· So Cortney Padua, what     ·9· ·during the course of our investigation.
10· · ·was her title in 2019?                              10· · · · · ·Q.· ·And -- and is it your understanding
11· · · · · · ·A.· ·She would have been a security, I      11· ·that she spent about 96 hours, from May 2nd to
12· · ·believe, engineer on CERT.                          12· ·June 15th, 2019, on that -- on those tasks?
13· · · · · · ·Q.· ·And you don't know the expense to      13· · · · · ·A.· ·Yes, that is, that is approximately
14· · ·WhatsApp or Facebook of employing Ms. Padua in      14· ·how much time.
15· · ·2019, do you?                                       15· · · · · ·Q.· ·All right.· I'd like to divide
16· · · · · · · · · MR. MARZORATI:· Objection outside      16· ·up -- well, of the time that Cortney Padua
17· · ·the scope of his 30(b)(6) testimony.                17· ·spent, how much of it was spent, and I'm going
18· · · · · · ·A.· ·I do not.                              18· ·to give you five different categories and ask
19· · · · · · ·Q.· ·Okay.· Do you know whether Cortney     19· ·you to allocate her time into those five
20· · ·Padua took any vacation or PTO in May or June of    20· ·categories, and you can take notes if you want
21· · ·2019?                                               21· ·or you don't have to.
22· · · · · · ·A.· ·I do not know.                         22· · · · · ·A.· ·Is there something I can use to
23· · · · · · ·Q.· ·Okay.· All right.                      23· ·take notes?
24· · · · · · · · · What actions did Cortney Padua take    24· · · · · ·Q.· ·Of course.
25· · ·in responding to defendant's exploit in May of      25· · · · · · · · THE WITNESS:· Do you have a pen?
                                                Page 288                                                  Page 289
·1· · ·Sorry.                                          ·1· ·to identify and understand the source of the
·2· ·BY MR. CRAIG:                                     ·2· ·exploit.
·3· · · · · · ·Q.· ·Thanks.· So the first category is  ·3· · · · · ·Q.· ·Okay.· All of it?
·4· · ·improving WhatsApp software code; the second is ·4· · · · · ·A.· ·Essentially, yes.
·5· · ·identifying and notifying WhatsApp users; the   ·5· · · · · ·Q.· ·Okay.· Michael Scott, what was his
·6· · ·third is trying to understand and identify the  ·6· ·title in 2019?
·7· · ·exploit and the source of the exploit.          ·7· · · · · ·A.· ·He was a threat investigator.
·8· · · · · · ·A.· ·Sorry.· Could you go back, repeat  ·8· · · · · ·Q.· ·Okay.· Did he take any vacation or
·9· · ·that one?                                       ·9· ·PTO in May or June of 2019?
10· · · · · · ·Q.· ·Yeah.· Trying to understand and    10· · · · · · · · MR. MARZORATI:· Objection, outside
11· · ·identify the exploit and the source of the      11· ·the scope.
12· · ·exploit; fourth is, communications and legal;   12· · · · · ·A.· ·I do not know.
13· · ·and the fifth is other.                         13· · · · · ·Q.· ·How much time did Michael Scott
14· · · · · · · · · So out of the -- out of the time   14· ·spend working on responding to the NSO exploit
15· · ·that Cortney Padua spent, can you allocate that 15· ·in 2019?
16· · ·among those five categories?                    16· · · · · ·A.· ·He was essentially full time
17· · · · · · · · · MR. MARZORATI:· I will object to   17· ·throughout the months of May and June, focused
18· · ·this exercise in its entirety as beyond the     18· ·on this issue.
19· · ·scope of his 30(b)(6) testimony.                19· · · · · ·Q.· ·How -- so again, I'm going to refer
20· · · · · · · · · Drew, to the extent you understand 20· ·you to the five categories that I identified
21· · ·any of this or these are categories that you've 21· ·earlier, how much of his time was spent in each
22· · ·heard of before, you can attempt to answer.     22· ·of those five categories during May and June of
23· · · · · · ·A.· ·I would say that I would cause --  23· ·2019?
24· · ·of the categories provided to me I would        24· · · · · · · · MR. MARZORATI:· Same objections to
25· · ·classify her work here as in support of trying 25· ·this exercise.


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ROBINSON, ANDREW on 09/19/2024                                                                     Pages· 290..293
                                                Page 290                                                   Page 291
·1· · · · · ·A.· ·I'm not sure the specific                ·1· ·exploit.
·2· ·breakdown, also, I would say the two categories,      ·2· · · · · ·Q.· ·All right.· So is your testimony
·3· ·in my mind, would overlap to some degree, so          ·3· ·that -- that Michael Scott spent about 50
·4· ·it's a little confusing.                              ·4· ·percent of his time identifying and notifying
·5· · · · · · · · But his time would have been split,      ·5· ·the users of WhatsApp who may have been targeted
·6· ·to some degree.· I'm not sure what, between the       ·6· ·with Pegasus, and 50 percent of the time trying
·7· ·identify, notify users, and trying to understand      ·7· ·to understand and identify what the exploit was?
·8· ·and identify the source of the exploit.               ·8· · · · · · · · MR. MARZORATI:· Objection,
·9· · · · · ·Q.· ·Which two categories do you think        ·9· ·misstates his testimony.
10· ·overlap?                                              10· · · · · ·A.· ·I do not know what the delineation
11· · · · · ·A.· ·Those two, the identify and notify       11· ·between those two categories that you've
12· ·users, and trying to understand and ID, the           12· ·outlined is.
13· ·source of the exploit.                                13· · · · · ·Q.· ·All right.· How much of your time
14· · · · · ·Q.· ·All right.· To me the distinction        14· ·was spent responding to the exploit?
15· ·is pretty clear between identifying and               15· · · · · ·A.· ·In the hundreds of hours.
16· ·notifying the WhatsApp users who may have been        16· · · · · ·Q.· ·You can't narrow it down anymore
17· ·targeted and understanding and identifying the        17· ·than that?
18· ·exploit, itself, and where it came from, what it      18· · · · · ·A.· ·I would say a conservative estimate
19· ·is about those two that you find overlapping?         19· ·would probably be somewhere around the order of
20· · · · · · · · MR. MARZORATI:· Object to the            20· ·300 hours, 300 to 400 hours.
21· ·testimony from Mr. Craig and to the form of the       21· · · · · ·Q.· ·And referring again to my five
22· ·question.                                             22· ·categories, which -- which ones were you
23· · · · · ·A.· ·To me, identifying the users             23· ·involved in?
24· ·involved and the targeting of an exploit is           24· · · · · · · · MR. MARZORATI:· Same objections as
25· ·critical to understanding the source of the           25· ·before.
                                                Page 292                                                   Page 293
·1· · · · · ·A.· ·Again, trying to understand and ID       ·1· · ·extent -- same objections as before regarding
·2· ·the source of the exploit, identifying and            ·2· · ·this category again.
·3· ·notifying users, and probably a good bit of           ·3· · · · · · · · · THE WITNESS:· Sorry, repeat the
·4· ·other in there, as well.                              ·4· · ·question.
·5· · · · · ·Q.· ·Did you take any PTO in 2019?            ·5· · · · · · · · · MR. CRAIG:· Yeah.
·6· · · · · ·A.· ·I more than likely did.                  ·6· ·BY MR. CRAIG:
·7· · · · · ·Q.· ·Do you remember when?                    ·7· · · · · · ·Q.· ·Would you -- would you categorize
·8· · · · · ·A.· ·I do not.                                ·8· · ·all of the time that Mr. Gautam spent as victim
·9· · · · · ·Q.· ·All right.· How much time did            ·9· · ·outreach?
10· ·Aashin Gautam spend responding to the exploit?        10· · · · · · · · · MR. MARZORATI:· Same objections as
11· · · · · ·A.· ·Approximately half of his time,          11· · ·before regarding this category game.
12· ·from the months of May to November, was spent         12· · · · · · ·A.· ·Yes.
13· ·working on issues related to this incident.           13· · · · · · ·Q.· ·How much time did YuanYuan Wang
14· · · · · ·Q.· ·And what did Mr. Gautam do?              14· · ·devote to working on the exploit in 2019?
15· · · · · ·A.· ·He was a director for WhatsApp           15· · · · · · ·A.· ·It would have been approximately --
16· ·customer operations.                                  16· · ·approximately 80 to 90 hours.
17· · · · · ·Q.· ·What did he --                           17· · · · · · ·Q.· ·Would you consider how many hours
18· · · · · ·A.· ·He worked in --                          18· · ·is a full-time day for Facebook and META?
19· · · · · · · · MR. MARZORATI:· You can finish your      19· · · · · · · · · MR. MARZORATI:· Objection, calls
20· ·answer, Mr. Robinson.                                 20· · ·for speculation.· It's also outside the scope of
21· · · · · ·A.· ·He worked in victim outreach.            21· · ·his testimony.
22· · · · · ·Q.· ·So all of this time, this three and      22· · · · · · ·A.· ·Individuals will -- can work a
23· ·a half months of his time, was spent on victim        23· · ·varying number of hours during their day.
24· ·outreach?                                             24· · · · · · ·Q.· ·And in your testimonial aid, here,
25· · · · · · · · MR. MARZORATI:· Objection to the         25· · ·it says:· May and June full time, and I'm just


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ROBINSON, ANDREW on 09/19/2024                                                                    Pages· 294..297
                                                Page 294                                                  Page 295
·1· · ·curious how you get from that to your answer of  ·1· ·investigating the -- or helping investigates the
·2· · ·80 to 90 hours?                                  ·2· ·client-side vulnerability, performing some of
·3· · · · · · ·A.· ·Correct.· So, well, in part, I have ·3· ·the lobbying that we needed to gather the
·4· · ·the opportunity to talk to him, and I believe    ·4· ·information needed to remediate the issue, as
·5· · ·that was roughly the time that he conveyed to ·5· ·well as implementation of some of the fix.
·6· · ·me, as well as the rough calculation of roughly ·6· · · · · ·Q.· ·Are you able to allocate his time
·7· · ·eight hours a day over an 11 -- over the course ·7· ·among the five categories that I've -- that I've
·8· · ·of 11 days.                                      ·8· ·given you?
·9· · · · · · ·Q.· ·Do you know how many -- are you     ·9· · · · · · · · MR. MARZORATI:· Same objections as
10· · ·counting weekend days in that?                   10· ·before.
11· · · · · · ·A.· ·During this time period, yes.       11· · · · · ·A.· ·I am not.
12· · · · · · ·Q.· ·Okay.· And what did Mr. Wang --     12· · · · · ·Q.· ·What did Mister -- let me ask you:
13· · ·specifically what was he doing in respect to     13· ·Otto Ebeling, what was his title in 2019?
14· · ·responding to the exploit?                       14· · · · · ·A.· ·He was a security engineer.
15· · · · · · · · · MR. MARZORATI:· Do you need a       15· · · · · ·Q.· ·Did he take any PTO during 2019?
16· · ·break?                                           16· · · · · · · · MR. MARZORATI:· Objection as
17· · · · · · · · · THE WITNESS:· I'm good, just water  17· ·outside the scope.
18· · ·down the wrong pipe.                             18· · · · · ·A.· ·I do not know.
19· · · · · · · · · Sorry, could you repeat the         19· · · · · ·Q.· ·What actions did Mr. Ebeling take
20· · ·question?                                        20· ·in responding to defendant's exploit in May
21· ·BY MR. CRAIG:                                      21· ·2019?
22· · · · · · ·Q.· ·What did Mr. Wang do, between May   22· · · · · ·A.· ·He worked to analyze the exploit
23· · ·2nd and June 13 of 2019 with respect to the NSO 23· ·and understand how it functioned.
24· · ·exploit?                                         24· · · · · ·Q.· ·How much did -- sorry.
25· · · · · · ·A.· ·He was responsible for              25· · · · · · · · What was Aby John's title in 2019
                                                Page 296                                                  Page 297
·1· · · · · ·A.· ·I'm sorry, could you repeat the          ·1· ·around the investigation to include looking at
·2· ·name.                                                 ·2· ·our own servers to make sure that there wasn't
·3· · · · · ·Q.· ·Aby John, A-b-y, J-o-h-n?                ·3· ·some additional infection, as well as helping
·4· · · · · ·A.· ·I don't know.                            ·4· ·some of the -- I believe helping some of the
·5· · · · · ·Q.· ·What did Aby John do in responding       ·5· ·exploit analysis.
·6· ·to defendant's exploit in May 2019?                   ·6· · · · · ·Q.· ·What did -- what was Airoven's --
·7· · · · · ·A.· ·I don't know.                            ·7· ·Airoven Thangavell's (phonetic) title in 2019?
·8· · · · · ·Q.· ·What was Andy Yang's title in 2019?      ·8· · · · · ·A.· ·I do not know.
·9· · · · · ·A.· ·I don't know.                            ·9· · · · · ·Q.· ·What did Airoven Thangavell do to
10· · · · · ·Q.· ·What did Andy Yang do in responding      10· ·respond to the defendant's exploit in 2019?
11· ·to defendant's exploit in May 2019?                   11· · · · · ·A.· ·I do not know.
12· · · · · ·A.· ·I don't know.                            12· · · · · ·Q.· ·What was Brendon Tiszka's title in
13· · · · · ·Q.· ·What was Andrey Labunets' title in       13· ·2019?
14· ·2019?                                                 14· · · · · ·A.· ·I don't know.
15· · · · · ·A.· ·I believe he would have been a           15· · · · · ·Q.· ·What did Brendon Tiszka do to
16· ·security engineer.                                    16· ·respond to defendant's exploit in May 2019?
17· · · · · ·Q.· ·And what did Andrey Labunets do in       17· · · · · ·A.· ·I don't know the full extent of his
18· ·respect of identifying -- I'm sorry -- in             18· ·work.
19· ·responding to the exploit in 2019?                    19· · · · · ·Q.· ·Do you know any of the extent of
20· · · · · ·A.· ·I'm sorry, could you clarify the         20· ·his work?
21· ·question?                                             21· · · · · ·A.· ·We had some brief conversations
22· · · · · ·Q.· ·Yeah.· What did Andrey Labunets do       22· ·about it, beyond that, I don't know much about
23· ·in responding to defendant's exploit in May of        23· ·what he did.
24· ·2019?                                                 24· · · · · ·Q.· ·So you can't tell me anything about
25· · · · · ·A.· ·He performed several functions           25· ·what he did?


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ROBINSON, ANDREW on 09/19/2024                                                                               Pages· 386..389
                                                       Page 386                                                           Page 387
·1· · · · · · · ·ACKNOWLEDGMENT OF DEPONENT                       ·1· · · · · · CERTIFICATE OF SHORTHAND REPORTER
·2· · · · · · · · · I, ANDREW ROBINSON, do hereby                 ·2· · · · · · · · · I, Cassandra E. Ellis, Registered
·3· · ·acknowledge that I have read and examined the              ·3· · ·Professional Reporter, the officer before whom
·4· · ·foregoing testimony, and the same is a true,               ·4· · ·the foregoing proceedings were taken, do hereby
·5· · ·correct and complete transcription of the                  ·5· · ·certify that the foregoing transcript is a true
·6· · ·testimony given by me and any corrections appear           ·6· · ·and correct record of the proceedings; that said
·7· · ·on the attached Errata sheet signed by me.                 ·7· · ·proceedings were taken by me stenographically
·8                                                                ·8· · ·and thereafter reduced to typewriting under my
·9· ·____________________· · · · · ____________________           ·9· · ·supervision; and that I am neither counsel for,
10· · · · (DATE)· · · · · · · · · · · (SIGNATURE)                 10· · ·related to, nor employed by any of the parties
11                                                                11· · ·to this case and have no interest, financial or
12                                                                12· · ·otherwise, in its outcome.
13                                                                13· · · · · · · · · IN WITNESS WHEREOF, I have hereunto
14                                                                14· · ·set my hand this 23RD day of September 2024.
15                                                                15
16                                                                16
17                                                                17
18                                                                18· ·____________________________________________
19                                                                19· ·CASSANDRA E. ELLIS, CSR-CA #14448, CCR-WA #3484,
20                                                                20· · · · · · · · · · · ·CSR-HI #475, RPR, RMR, RDR,
21                                                                21· · · · · · · · · · · ·CRR, REALTIME SYSTEMS
22                                                                22· · · · · · · · · · · ·ADMINISTRATOR #823848
23                                                                23
24                                                                24
25                                                                25

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·1· · · · · · · · E R R A T A· · S H E E T                        ·1· · · ·E R R A T A· ·S H E E T· ·C O N T I N U E D
·2· · · · IN RE:· WHATSAPP/FACEBOOK, v. NSO GROUP/Q               ·2· · · ·IN RE:· WHATSAPP/FACEBOOK, v. NSO GROUP/Q
·3· ·CYBER                                                        ·3· ·CYBER
·4· ·RETURN BY: _________________________________                 ·4· ·RETURN BY:· ________________________________
·5· ·PAGE· · LINE· · ·CORRECTION AND REASON                       ·5· ·PAGE· · LINE· · ·CORRECTION AND REASON
·6· ·____· · ____· · ·___________________________                 ·6· ·____· · ____· · ·___________________________
·7· ·____· · ____· · ·___________________________                 ·7· ·____· · ____· · ·___________________________
·8· ·____· · ____· · ·___________________________                 ·8· ·____· · ____· · ·___________________________
·9· ·____· · ____· · ·___________________________                 ·9· ·____· · ____· · ·___________________________
10· ·____· · ____· · ·___________________________                 10· ·____· · ____· · ·___________________________
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12· ·____· · ____· · ·___________________________                 12· ·____· · ____· · ·___________________________
13· ·____· · ____· · ·___________________________                 13· ·____· · ____· · ·___________________________
14· ·____· · ____· · ·___________________________                 14· ·____· · ____· · ·___________________________
15· ·____· · ____· · ·___________________________                 15· ·____· · ____· · ·___________________________
16· ·____· · ____· · ·___________________________                 16· ·____· · ____· · ·___________________________
17· ·____· · ____· · ·___________________________                 17· ·____· · ____· · ·___________________________
18· ·____· · ____· · ·___________________________                 18· ·____· · ____· · ·___________________________
19· ·____· · ____· · ·___________________________                 19· ·____· · ____· · ·___________________________
20· ·____· · ____· · ·___________________________                 20· ·____· · ____· · ·___________________________
21· ·____· · ____· · ·___________________________                 21· ·____· · ____· · ·___________________________
22· ·____· · ____· · ·___________________________                 22· ·____· · ____· · ·___________________________
23                                                                23
24· ·______________· ·___________________________                 24· ·_______________· ___________________________
25· · · ·(DATE)· · · · · · · · · ·(SIGNATURE)                     25· · · ·(DATE)· · · · · · · · · (SIGNATURE)




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               EXHIBIT 35
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               EXHIBIT 36
              FILED UNDER SEAL
